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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7        TANSEER KAZI, et al.,                            Case No. 18-cv-04810-JCS
                                                         Plaintiffs,
                                   8
                                                                                             ORDER REGARDING MOTIONS FOR
                                                   v.                                        PARTIAL SUMMARY JUDGMENT
                                   9

                                  10        PNC BANK, N.A.,                                  Re: Dkt. Nos. 158, 161
                                                         Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13   I.       INTRODUCTION
                                  14            The Court previously granted in part a motion to certify a class of current or former

                                  15   mortgage loan officers (“MLOs”) represented by Plaintiff Linda Scheid1 (the “Class”) asserting

                                  16   claims based on the purported failure of Defendant PNC Bank, N.A. (“PNC”) to compensate rest

                                  17   breaks as required by California law. The parties have filed cross-motions for partial summary

                                  18   judgment, and the Court issued notice under Rule 56(f) that it would also consider whether the

                                  19   grant summary judgment for PNC on the issue of whether PNC’s compensation policy complies

                                  20   with California law—a request not raised in PNC’s motion, but instead first addressed in PNC’s

                                  21   opposition to Plaintiffs’ motion. The Court held a hearing on March 12, 2021. Each party’s

                                  22   motion is GRANTED in part and DENIED in part, and the class definition is narrowed as

                                  23   discussed below.2

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                                  26     Tanseer Kazi is also named as a plaintiff in this case, but the Court previously dismissed Kazi’s
                                       claims without prejudice to him or his bankruptcy estate recovering as a member of the class. See
                                  27   Order Granting Pls.’ Mot. to Dismiss (dkt. 144), Kazi v. PNC Bank, N.A., No. 18-cv-04810-JCS,
                                       2020 WL 5232602 (N.D. Cal. Sept. 2, 2020).
                                       2
                                  28     The parties have consented to the jurisdiction of the undersigned magistrate judge for all
                                       purposes pursuant to 28 U.S.C. § 636(c).
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                                   1   II.    BACKGROUND

                                   2          A.    Factual Overview and Claims Asserted
                                   3          During the period of time at issue, PNC provided incentive compensation for its MLOs

                                   4   using a formula based in large part on the MLOs’ loan sales. While PNC also provided a basic

                                   5   level of pay purportedly independent of incentive compensation, that basic pay was deducted from

                                   6   the calculation of incentive pay, such that in a given month an MLO would effectively receive

                                   7   either a portion of their loan sales or their base pay, whichever was larger. In at least some

                                   8   circumstances, a negative balance on the calculation of incentive pay (after effectively deducting

                                   9   base pay) would carry over to future months. Nevertheless, MLOs were never paid less than their

                                  10   regular pay for a given pay period, and failure to meet incentive goals would never result in them

                                  11   owing money to PNC at the end of their employment. MLOs also received other forms of

                                  12   incentive pay besides the monthly incentives calculated from loan sales. PNC allowed MLOs to
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                                  13   take periodic rest breaks and instructed them to remain clocked in during those breaks, so MLOs

                                  14   would receive their regular pay for time spent on rest breaks.

                                  15          There is no evidence or argument that MLOs’ base pay, standing alone, would fail to

                                  16   provide sufficient compensation under California law for rest breaks or any other compensable

                                  17   time. Plaintiffs’ theory is that by effectively paying only incentive pay in months where MLOs

                                  18   qualified for it, PNC “recaptured” any pay for rest periods or other nonproductive time (although

                                  19   as discussed below, the Court has certified the Class only for the purpose of claims based on rest

                                  20   periods), and thus failed to pay MLOs for that time. Plaintiffs assert the following claims:

                                  21   (1) “fail[ure] to provide paid rest periods or pay premium wages in lieu thereof as required by

                                  22   California Labor Code § 226.7” and certain wage orders, including waiting time penalties for class

                                  23   members whose employment ended during the class period, 2d Am. Compl. (dkt. 44-1) ¶¶ 22–26;

                                  24   (2) failure to pay for non-productive time as required by the California Labor Code and applicable

                                  25   wage orders, again including waiting time penalties for non-current employees, id. ¶¶ 27–32;

                                  26   (3) violation of California laws requiring accurate wage statements, id. ¶¶ 33–36; (4) violation of

                                  27   California’s Unfair Competition Law as a result of the violations addressed in the previous claims,

                                  28   id. ¶¶ 37–41; and (5) a non-class, representative claim under California’s Private Attorneys
                                                                                         2
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                                   1   General Act (“PAGA”), id. ¶¶ 42–47.

                                   2          B.    Previous Orders on Class Certification
                                   3          The Court previously granted in part Plaintiffs’ motion to certify this case as a class action

                                   4   under Rule 23 of the Federal Rules of Civil Procedure. See generally Order re Mot. for Class

                                   5   Certification (“1st Class Cert. Order,” dkt. 96).3 The Court held that with at least 119 members

                                   6   and potentially more than 200, the class satisfied the requirements of numerosity and

                                   7   ascertainability, which PNC did not dispute, id. at 5–6, and that “the question of whether the

                                   8   application of [PNC’s] formula at least to months where MLOs received Plan Incentive Pay

                                   9   adequately compensates for rest breaks and other nonproductive time” satisfied Rule 23(a)(2)’s

                                  10   commonality requirement, id. at 6–9. The Court concluded that although then-Plaintiff Tanseer

                                  11   Kazi could not serve as a class representative due to his bankruptcy, Plaintiff Linda Scheid met

                                  12   Rule 23’s requirements of typicality and adequacy, and class counsel was also adequate for the
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                                  13   purpose of that rule. Id. at 14–15. The Court denied class certification as to claims based on

                                  14   nonproductive time other than rest breaks, and denied a subsequent motion to expand the Class

                                  15   definition to include claims for time spent on training sessions. Order re Mots. to Modify Class

                                  16   Certification (“2d Class Cert. Order,” dkt. 134)4 at 9–17. The Court granted an unopposed motion

                                  17   by PNC to set an end date of June 30, 2019 for the Class. Id. at 8–9.

                                  18          Based on those previous orders, the Class was therefore defined as all individuals who

                                  19   were employed by PNC as mortgage loan officers from June 28, 2014 through June 29, 2019, and

                                  20   was certified only to pursue claims based on PNC’s alleged failure to pay for rest breaks during

                                  21   that time, as well as claims derivative of such a theory. Id. at 17–18.

                                  22          C.    Arguments
                                  23                  1. Plaintiffs’ Motion
                                  24          Plaintiffs seek partial summary judgment on two issues: (1) “Whether PNC Bank’s MLO

                                  25   Compensation Plans failed to provide MLOs compensation for rest periods as required by

                                  26
                                       3
                                  27     Kazi v. PNC Bank, N.A., No. 18-cv-04810-JCS, 2020 WL 607065 (N.D. Cal. Feb. 7, 2020).
                                       Citations herein to the Court’s previous orders refer to page numbers of the versions filed in the
                                  28   Court’s ECF docket.
                                       4
                                         Kazi v. PNC Bank, N.A., No. 18-cv-04810-JCS, 2020 WL 3414709 (N.D. Cal. June 22, 2020).
                                                                                         3
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                                   1   California law, Cal. Lab. Code § 226.7, and Section 12 of the IWC Wage Order 4-2001 such that

                                   2   PNC is liable for failure to provide rest periods”; and (2) “Whether the Bland, et al. v. PNC Bank,

                                   3   N.A. or the Batta v. PNC Bank, N.A. class settlements, under affirmative defenses of res judicata,

                                   4   settlement, release and/or accord and satisfaction, affect the relevant liability period for PNC’s

                                   5   failure to pay compensation to MLOs for rest periods in violation of California law.” Pls.’ Mot.

                                   6   (dkt. 161) at 1.

                                   7                          a.      PNC’s Compensation Plan
                                   8           Plaintiffs contend that PNC paid MLOs a $16 hourly wage, but then deducted that wage

                                   9   from commissions earned in that month or future months. Id. at 14–15. Since, in Plaintiffs’ view,

                                  10   MLOs were effectively only paid commissions after their regular pay was recaptured as

                                  11   deductions, Plaintiffs contend that PNC failed to separately compensate them for their rest breaks,

                                  12   as required by California law. Id. at 16. Plaintiffs argue that even when MLOs did not earn
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                                  13   commissions, they did not receive valid pay for their rest breaks because their regular pay created

                                  14   a deficit that would be applied to future commissions, and even when PNC forgave such deficits,

                                  15   it still deducted regular pay from commissions earned within a discrete period of time. Id. at 17–

                                  16   18.

                                  17           PNC argues that, contrary to Plaintiffs’ contention that it paid MLOs an hourly wage that

                                  18   served as a revocable advance on commissions, it in fact paid MLOs an unconditional biweekly

                                  19   salary that was not subject to recapture. Def.’s Opp’n (dkt. 164) at 4–7. According to PNC, the

                                  20   cases on which Plaintiffs rely are distinguishable because, among other reasons, they involved

                                  21   hourly pay rather than salaries, incentive pay was characterized as earned commissions, and

                                  22   regular pay was characterized as a draw against those commissions. Id. at 10–12. PNC contends

                                  23   that this case is controlled by the California Supreme Court’s recent decision in Oman v. Delta Air

                                  24   Lines, 9 Cal. 5th 762 (2020), which held (on certification of a question from the Ninth Circuit) that

                                  25   non-hourly compensation schemes need not specifically attribute a particular amount above the

                                  26   minimum wage to each hour of compensable work so long they ensure that employees receive

                                  27   more than minimum wage, and thus affirmed summary judgment for an airline that paid its flight

                                  28   attendants by work rotation using formulas that always ensured an effective hourly rate greater
                                                                                         4
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                                   1   than the minimum wage. Def.’s Opp’n at 12–14. PNC characterized Oman as having narrowly

                                   2   construed the line of California cases on which Plaintiffs rely, and as consistent with earlier

                                   3   California decisions allowing employers leeway in structuring incentive compensation that might

                                   4   depend on factors impermissible in setting regular pay. Id. at 14–19.5 PNC contends that it

                                   5   always provided sufficient compensation satisfying California’s requirements for minimum wage

                                   6   and pay for rest breaks, based on a combination of MLOs’ salaries, any incentive pay MLOs

                                   7   might earn under PNC’s compensation plan for loans they sold, and other incentive pay separate

                                   8   from that compensation plan. Id. at 19–22. At the conclusion of its argument on this issue in its

                                   9   opposition brief, PNC requests summary judgment in its favor even though it did not raise the

                                  10   issue in its own motion, citing Rule 56(f) of the Federal Rules of Civil Procedure for the principle

                                  11   that a court may grant summary judgment for a nonmovant. Id. at 22.

                                  12          Plaintiffs contend in their reply that PNC in fact paid its MLOs commissions, citing a
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                                  13   comment by the Court at the class certification hearing highlighting PNC documents that used that

                                  14   term. Pls.’ Reply (dkt. 169) at 1. Plaintiffs also argue that PNC’s documents show that MLOs’

                                  15   base pay functioned as a draw against commissions, and if it was a salary rather than a draw as

                                  16   PNC contends, then PNC’s deduction of that amount from future incentive pay would violate

                                  17   California laws prohibiting employers from recapturing wages paid to employees. Id. at 1–5.

                                  18   Plaintiffs dispute PNC’s characterization of Oman, arguing that it confirmed rather than limited

                                  19   the holdings of the cases on which Plaintiffs rely, and that the facts at hand are indistinguishable

                                  20   from a recent unpublished Ninth Circuit decision addressing mortgage consultants at Wells Fargo.

                                  21   Id. at 5–9. According to Plaintiffs, it is immaterial that some MLOs never sold enough loans to

                                  22   actually receive Plan Incentive Pay. Id. at 9–11. Plaintiffs also contend that other bonuses and

                                  23   “forgivable draws” issued by PNC do not satisfy its obligation to pay for rest breaks. Id. at 11–12.

                                  24

                                  25   5
                                         One of the cases on which PNC relies is the California appellate decision Murcia v. Tanimura &
                                  26   Antle Fresh Foods, Inc., No. H045418, 2020 WL 1672686 (6th Dist. Cal. Ct. App. Apr. 6, 2020).
                                       See Def.’s Opp’n at 16. Rule 8.1115 of the California Rules of Court, incorporated by this Court’s
                                  27   Civil Local Rule 3-4(e), prohibits citation of that unpublished opinion. That rule is distinct from
                                       the Ninth Circuit’s treatment of its own unpublished decisions since January 1, 2007, which are
                                  28   not precedent but may nevertheless be cited for their persuasive value. See Fed. R. App. P.
                                       32.1(a); 9th Cir. R. 36-3(b). The Court therefore disregards Murcia.
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                                   1          After briefing closed, the Court issued notice that it would consider the request for

                                   2   summary judgment raised in PNC’s opposition brief, and allowed Plaintiffs to file a response

                                   3   raising any procedural objections no later than March 3, 2021, although the Court noted that a lack

                                   4   of procedural objection would not be construed as non-opposition to summary judgment on the

                                   5   merits. See Order Providing Notice of Potential Summ. J. for Non-Movant (dkt. 174). Plaintiffs

                                   6   did not file a response.

                                   7                          b.      Prior Class Settlements
                                   8          Plaintiffs argue that they are entitled to summary adjudication that the class settlement in

                                   9   Bland v. PNC Bank, N.A., No. 2:15-cv-01042-AJS (W.D. Penn.), which released certain claims

                                  10   through January 4, 2017, does not bar their claims from before that date because that case

                                  11   concerned unpaid wages, while California courts have treated failure to provide rest breaks under

                                  12   section 226.7 of the Labor Code as a claim distinct from nonpayment of wages. Pls.’ Mot. at 18.
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                                  13   Plaintiffs also contend that Bland did not arise from an identical factual predicate as their claims

                                  14   here, as required in the Ninth Circuit for a settlement to bar absent class members from bringing

                                  15   related claims, or invoke the same primary right as their claims here, as required for res judicata

                                  16   under California law. Id. at 21–23. Plaintiffs assert that the settlement in Batta v. PNC Bank,

                                  17   N.A., No. MSC15-00728 (Cal. Super. Ct., Contra Costa)—which PNC did not address in its

                                  18   answer, but raised later in litigation—does not bar the claims here because it released only claims

                                  19   related to failure to reimburse or indemnify business expenses. Id. at 23.

                                  20          PNC argues that the federal test for res judicata applies because the judgment in Bland was

                                  21   entered by a federal court, and both cases arise from the same nucleus of operative facts—

                                  22   purported nonpayment of compensation that was later deducted from incentive pay. Def.’s Opp’n

                                  23   at 23. PNC contends that California law treats payment for rest breaks the same as payment for

                                  24   work, and this case does not concern denial of rest breaks, only alleged nonpayment. Id. at 24–25.

                                  25   PNC does not address Batta in its opposition brief. See id. at 22–25.

                                  26          In their reply, Plaintiffs argue that because the complaint in Bland did not address rest

                                  27   breaks or nonproductive time, it did not arise from the same factual predicate as their claims here.

                                  28   Id. Pls.’ Reply at 12–13.
                                                                                         6
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                                   1                  2. PNC’s Motion

                                   2          PNC moves for partial summary judgment on three issues: (1) “The doctrines of res

                                   3   judicata, settlement, and release completely bar the claims of 88 Class members and partially bar

                                   4   the claims of 45 other Class members”; (2) “The Class’ wage statement claim fails as a matter of

                                   5   law”; and (3) “The Class’ termination pay/waiting time penalty claims fail as a matter of law.”

                                   6   Def.’s Mot. (dkt. 158) at 1.

                                   7                          a.      Effect of Settlements
                                   8          PNC asserts that 133 of the 210 MLOs in the Class here were members of the Bland class

                                   9   action and argues that those MLOs’ claims are barred for work performed through the January 4,

                                  10   2017 release date of that settlement, and that of those 133 Class members, 88 ended their

                                  11   employment with PNC before that date and thus have no claims here. Id. at 3–5, 7–16. As in its

                                  12   opposition brief discussed above, PNC argues that the federal test for res judicata applies,
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                                  13   requiring identity of claims, a final judgment on the merits, and privity. Id. at 7 & n.10.

                                  14   According to PNC, privity is established for Class members here who were also members of the

                                  15   Bland class, and a class settlement serves as a final judgment on the merits. Id. at 8–9. PNC

                                  16   argues that the claims in Bland, which were based on deduction of salary from future incentive

                                  17   payments, encompass the claims here for failure to compensate rest breaks as a result of the same

                                  18   deduction scheme. Id. at 9–15.

                                  19          Plaintiffs argue that the estoppel effect of Bland is determined not by general res judicata

                                  20   principles, but by the scope of the release included in the settlement agreement, which only

                                  21   encompassed claims based on the allegations of the complaint in that case, and did not extend to

                                  22   related claims that could have been raised. Pl.’s Opp’n (dkt. 167) at 1, 13–14. According to

                                  23   Plaintiffs, those allegations do not encompass their claims here, because Bland did not include

                                  24   allegations regarding rest breaks and instead sought compensation for “hours worked.” Id. at 1–2,

                                  25   4–8. Plaintiffs also argue that due process requires claims released by absent class members to

                                  26   arise from an identical factual predicate as the claims asserted, which Plaintiffs contend is not

                                  27   satisfied here, most broadly because rest breaks are not hours worked, and more narrowly with

                                  28   respect to their claim for waiting time penalties because that issue was not addressed in Bland. Id.
                                                                                         7
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                                   1   at 2, 9–12. Even if the Court applies the more general test for res judicata rather than looking to

                                   2   the terms of the settlement, Plaintiffs argue that their claims here are sufficiently distinct to avoid

                                   3   preclusion. Id. at 14–15. Plaintiffs concede that Scheid’s individual claim for failure to

                                   4   compensate nonproductive time other than rest breaks—an issue for which the Court denied class

                                   5   certification—is barred by Bland for work Scheid performed before January 5, 2017. Id. at 4.

                                   6          PNC contends in its reply that any of the possible tests for preclusion would focus on the

                                   7   factual overlap between Bland and this case, and that the Bland release’s broad language

                                   8   (concerning any wage-and-hour claim that could have been asserted based on the allegations in

                                   9   that case) encompasses Plaintiffs’ claims here. Def.’s Reply (dkt. 168) at 1–3. PNC argues that

                                  10   the complaint in Bland detailed the same compensation scheme at issue here. Id. at 3–6. PNC

                                  11   also argues that both federal law and California law define “hours worked” as including rest

                                  12   breaks. Id. at 6–8. According to PNC, this case concerns only its purported failure to pay for rest
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                                  13   breaks, not denial of opportunity to take rest breaks, and the cases on which Plaintiffs rely are

                                  14   distinguishable. Id. at 8–9.

                                  15          PNC also asserts that Class members Ming Lo and Taylor Lancaster entered individual

                                  16   settlement agreements with broad releases encompassing all claims here. Def.’s Mot. at 5, 15, 16.

                                  17   Plaintiffs argue that under section 206.5 of the Labor Code, wages not subject to a bona fide

                                  18   dispute must be paid without condition and cannot be subject to a release, and that PNC has not

                                  19   shown that condition to be satisfied for Lo and Lancaster’s settlements. Pl.’s Opp’n at 2, 15. PNC

                                  20   responds that the authority on which Plaintiffs rely pertains to releases included on the back of

                                  21   paychecks, not to settlement agreements, and that the releases in Lo and Lancaster’s settlements

                                  22   are enforceable. Def.’s Reply at 9–10.

                                  23                          b.      Wage Statement and Waiting Time Claims
                                  24          PNC contends that Plaintiffs cannot recover penalties for inaccurate wage statements

                                  25   because, even if the Court determines that PNC’s compensation plan was inadequate, MLOs’

                                  26   wage statements always accurately reflected the amount they were actually paid. Def.’s Mot. at

                                  27   16–22. According to PNC, that conclusion is compelled by the California appellate decisions

                                  28   Maldonado v. Epsilon Plastics, Inc., 22 Cal. App. 5th 1308 (2018), and Naranjo v. Spectrum
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                                   1   Security Services, Inc., 40 Cal. App. 5th 444 (2019), review granted, 455 P.3d 704 (Cal. 2020).

                                   2   Def.’s Mot. at 16–22. PNC argues that Maldonado stands for a rule that wage statements are not

                                   3   insufficient so long as they accurately reflect the amount paid, even if that amount did not satisfy

                                   4   the employer’s more substantive obligations, and that Naranjo forecloses a wage statement claim

                                   5   based on a rest break claim under section 226.7, because such a claim is not based on nonpayment

                                   6   of wages. Id. at 18–20. Similarly, PNC argues that MLOs cannot recover waiting time penalties

                                   7   under section 203 for failure to pay wages upon termination of employment because any

                                   8   premiums that may have been due under section 226.7 were not wages within the meaning of

                                   9   section 203, relying again on Naranjo. Id. at 22–24.

                                  10          Plaintiffs contend that Maldonado is inapposite because did not address failure to disclose

                                  11   premium hours, as Plaintiffs argue their wage statements should have disclosed here for PNC’s

                                  12   alleged failure to provide rest breaks in accordance with California law, and that Naranjo has been
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                                  13   stripped of precedential value by the California Supreme Court granting review and is likely to be

                                  14   reversed. Pls.’ Opp’n at 2–3, 16–22. PNC argues again in its reply that the wage statements at

                                  15   issue accurately reflected Plaintiffs’ hours work and compensation received, and that Naranjo

                                  16   correctly held that failure to pay premiums under section 226.7 cannot support a wage statement or

                                  17   waiting time claim. Def.’s Reply at 10–15.

                                  18   III.   ANALYSIS
                                  19          A.    Legal Standard
                                  20          Summary judgment on a claim or defense is appropriate “if the movant shows that there is

                                  21   no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

                                  22   law.” Fed. R. Civ. P. 56(a). In order to prevail, a party moving for summary judgment must show

                                  23   the absence of a genuine issue of material fact with respect to an essential element of the non-

                                  24   moving party’s claim, or to a defense on which the non-moving party will bear the burden of

                                  25   persuasion at trial. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

                                  26          Once the movant has made this showing, the burden then shifts to the party opposing

                                  27   summary judgment to designate “‘specific facts showing there is a genuine issue for trial.’” Id.

                                  28   (citation omitted); see also Fed. R. Civ. P. 56(c)(1) (“A party asserting that a fact . . . is genuinely
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                                   1   disputed must support the assertion by . . . citing to particular parts of materials in the record

                                   2   . . . .”). “[T]he inquiry involved in a ruling on a motion for summary judgment . . . implicates the

                                   3   substantive evidentiary standard of proof that would apply at the trial on the merits.” Anderson v.

                                   4   Liberty Lobby Inc., 477 U.S. 242, 252 (1986). The non-moving party has the burden of

                                   5   identifying, with reasonable particularity, the evidence that precludes summary judgment. Keenan

                                   6   v. Allan, 91 F.3d 1275, 1279 (9th Cir. 1996). Thus, it is not the task of the court “‘to scour the

                                   7   record in search of a genuine issue of triable fact.’” Id. (citation omitted); see Carmen v. S.F.

                                   8   Unified Sch. Dist., 237 F.3d 1026, 1031 (9th Cir. 2001); Fed. R. Civ. P. 56(c)(3).

                                   9          A party need not present evidence to support or oppose a motion for summary judgment in

                                  10   a form that would be admissible at trial, but the contents of the parties’ evidence must be amenable

                                  11   to presentation in an admissible form. See Fraser v. Goodale, 342 F.3d 1032, 1036−37 (9th Cir.

                                  12   2003). Neither conclusory, speculative testimony in affidavits nor arguments in moving papers
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                                  13   are sufficient to raise genuine issues of fact and defeat summary judgment. Thornhill Publ’g Co.,

                                  14   Inc. v. GTE Corp., 594 F.2d 730, 738 (9th Cir. 1979). On summary judgment, the court draws all

                                  15   reasonable factual inferences in favor of the non-movant, Scott v. Harris, 550 U.S. 372, 378

                                  16   (2007), but where a rational trier of fact could not find for the non-moving party based on the

                                  17   record as a whole, there is no “genuine issue for trial” and summary judgment is appropriate.

                                  18   Matsushita Elec. Indus. Co. v. Zenith Radio, 475 U.S. 574, 587 (1986).

                                  19          Applying that standard to the cross-motions for summary judgment at hand, the Court

                                  20   draws all reasonable inferences in favor of PNC for the purpose of Plaintiffs’ motion, and all

                                  21   reasonable inferences in favor of Plaintiffs for the purpose of PNC’s motion.

                                  22          B.    Rest Breaks, Wage Borrowing, and Complex Compensation Plans
                                  23          Section 226.7 of the California Labor Code provides that employers cannot require

                                  24   employees to work during rest periods mandated by IWC wage orders and that rest periods “shall

                                  25   be counted as hours worked, for which there shall be no deduction from wages.” Cal. Lab. Code

                                  26   § 226.7(b), (d). Wage Order 4-2001, which governs the employees at issue in this case, requires

                                  27   rest breaks as follows:

                                  28                  Every employer shall authorize and permit all employees to take rest
                                                                                          10
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                                                      periods, which insofar as practicable shall be in the middle of each
                                   1                  work period. The authorized rest period time shall be based on the
                                                      total hours worked daily at the rate of ten (10) minutes net rest time
                                   2                  per four (4) hours or major fraction thereof. However, a rest period
                                                      need not be authorized for employees whose total daily work time is
                                   3                  less than three and one-half (3 1/2) hours. Authorized rest period time
                                                      shall be counted as hours worked for which there shall be no
                                   4                  deduction from wages.
                                   5   Cal. Code Regs. tit. 8, § 11040(12)(A) (“Wage Order 4”). An employer who fails to provide a rest

                                   6   break “in accordance with” state law or Wage Order 4 must provide “one additional hour of pay at

                                   7   the employee’s regular rate of compensation for each workday that the . . . rest . . . period is not

                                   8   provided.” Cal. Lab. Code § 226.7(c); see Wage Order 4, § 12(B). As explained by a recent

                                   9   California appellate decision, if an employer allows its employees to take rest breaks but fails to

                                  10   compensate that time in accordance with the Labor Code and applicable wage orders, the

                                  11   employees can recover either wages that should have been paid for the breaks or the one-hour

                                  12   daily premium under section 226.7(c), but not both. Sanchez v. Martinez, 54 Cal. App. 5th 535,
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                                  13   546–47 (2020), review denied, No. S265102 (Cal. Dec. 23, 2020).

                                  14          The series of cases addressing the interplay between California’s rest break requirements

                                  15   and employers’ complex, non-hourly compensation systems begins with a case that involved

                                  16   neither. In Armenta v. Osmose, Inc., 135 Cal. App. 4th 314 (2005), a company that maintained

                                  17   utility poles paid its employees hourly wages, but did not compensate them for certain tasks that

                                  18   the court determined were compensable. 135 Cal. App. 4th at 317, 319–20. The company argued

                                  19   that because the employees “were paid an hourly wage far in excess of the minimum wage,” it

                                  20   should be permitted to average the total amount an employee received for a given pay period

                                  21   across the number of hours actually worked to show that the employee received more than

                                  22   minimum wage. Id. at 319. The trial court and appellate court rejected that view, holding that “all

                                  23   hours must be paid at the statutory or agreed rate and no part of this rate may be used as a credit

                                  24   against a minimum wage obligation,” relying in part on statutes prohibiting employers from

                                  25   collecting or withholding any part of an agreed wage. Id. at 323 (citing Cal. Lab. Code §§ 221–

                                  26   23).

                                  27          A later case applied that principle to claims brought by truck drivers who received a piece-

                                  28   rate pay based on mileage, as well as “fixed rates for certain tasks and hourly rates for other tasks
                                                                                         11
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                                   1   and delays,” but no separate payment for rest periods. Bluford v. Safeway Inc., 216 Cal. App. 4th

                                   2   864, 872 (2013). The defendant, Safeway, argued that its mileage rate was designed to include

                                   3   payment for rest breaks taken while driving, but the court held that such an approach was “akin to

                                   4   averaging pay to comply with the minimum wage law instead of separately compensating

                                   5   employees for their rest periods at the minimum or contractual hourly rate,” as prohibited by

                                   6   Armenta. Id. The court “conclud[ed] Safeway was required to separately compensate for rest

                                   7   periods and was precluded from building compensation into its mileage rates for rest periods.” Id.

                                   8   at 873. Another case from around the same time applied the principle of Armenta to time that

                                   9   mechanics who were paid on a piece-rate basis spent on duty waiting for work they could perform.

                                  10   Gonzalez v. Downtown LA Motors, LP, 215 Cal. App. 4th 36, 42, 48–49 (2013).

                                  11          Perhaps the closest California case to the facts here, in that it involved sales associates paid

                                  12   on commission, is Vaquero v. Stoneledge Furniture LLC, 9 Cal. App. 5th 98 (2017), on which
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                                  13   Plaintiffs rely heavily. “If a sales associate failed to earn ‘Minimum Pay’ of at least $12.01 per

                                  14   hour in commissions in any pay period, Stoneledge paid the associate a ‘draw’ against ‘future

                                  15   Advanced Commissions.’” 9 Cal. App. 5th at 103. That “draw”—the shortfall between the

                                  16   commissions the associate earned and the $12.01 minimum hourly rate—was deducted from any

                                  17   future commissions, but the employee always received at least $12.01 per hour worked. Id. Like

                                  18   here, associates were encouraged to take rest breaks and remained on the clock during those

                                  19   breaks, resulting in rest periods being compensated in the same manner as working time. Id.

                                  20          The court concluded that the applicable wage order, which includes language identical to

                                  21   the relevant portion of Wage Order 4, “covers employees paid by commission” and requires

                                  22   separate pay for rest breaks. Id. at 110–14. The court further concluded that the defendant’s

                                  23   payment system—consisting of commissions when an associate sold above a certain threshold, an

                                  24   hourly wage when they did not, and deductions of such wages from any future commissions—

                                  25   failed to compensate for rest breaks:

                                  26                  For sales associates whose commissions did not exceed the minimum
                                                      rate in a given week, the company clawed back (by deducting from
                                  27                  future paychecks) wages advanced to compensate employees for
                                                      hours worked, including rest periods. The advances or draws against
                                  28                  future commissions were not compensation for rest periods because
                                                                                        12
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                                                      they were not compensation at all. At best they were interest-free
                                   1                  loans. Stoneledge cites no authority for the proposition that a loan for
                                                      time spent resting is compensation for a rest period. To the contrary,
                                   2                  taking back money paid to the employee effectively reduces either
                                                      rest period compensation or the contractual commission rate, both of
                                   3                  which violate California law. (See § 221 [prohibiting employers from
                                                      collecting or receiving from an employee “any part of wages
                                   4                  theretofore paid by said employer”]; § 222 [prohibiting employers
                                                      from withholding any part of a wage agreed upon]; § 223 [prohibiting
                                   5                  employers from “secretly pay[ing] a lower wage while purporting to
                                                      pay the wage designated by statute or by contract”]; cf. Armenta,
                                   6                  supra, 135 Cal. App. 4th at p. 323 [averaging wages across pay
                                                      periods to satisfy minimum wage requirements “effectively reduces
                                   7                  [employees’] contractual hourly rate”].)
                                   8                  Thus, when Stoneledge paid an employee only a commission, that
                                                      commission did not account for rest periods. When Stoneledge
                                   9                  compensated an employee on an hourly basis (including for rest
                                                      periods), the company took back that compensation in later pay
                                  10                  periods. In neither situation was the employee separately
                                                      compensated for rest periods.
                                  11

                                  12   Id. at 115–16 (brackets in original). The court placed significant weight on the fact that an
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                                  13   employee would likely receive lower total compensation as a result of taking rest breaks, because

                                  14   time spent at rest would not contribute in any way to earning commissions. Id. at 112, 116.

                                  15           In Barreras v. Wells Fargo Bank, N.A. (“Wells Fargo I”6), the Central District of

                                  16   California granted partial summary judgment for a class of home mortgage consultants whose

                                  17   compensation plans with Wells Fargo provided for an hourly rate of pay, but characterized that

                                  18   pay as an advance on commissions, which could reduce the amount of future commissions

                                  19   received but would never otherwise be recovered by Wells Fargo from an employee. Wells Fargo

                                  20   I, No. CV 17-4344 PA (ASx), 2018 WL 5276294, at *2–3 (C.D. Cal. Jan. 19, 2018).7 As with the

                                  21

                                  22   6
                                         Because the named plaintiff in the caption of this case changed between the district court’s
                                  23   decision and the Ninth Circuit’s, this order refers to the case by the defendant’s name for clarity.
                                       7
                                         “‘For purposes of this Plan, all hourly pay and other paid time (e.g., Paid Time Off, Paid
                                  24   Holidays) is an advance against monthly commissions and Performance Scorecard Bonuses, and
                                       also against all incentives that Employee is otherwise eligible to earn under this Plan . . . . As such,
                                  25   Employee’s hourly pay and other paid time is referred to as Advances on Commissions, and . . .
                                       Employee will be credited commissions and other incentives under this Plan only to the extent the
                                  26   gross received incentive amounts exceed the hourly pay the employee has received.’” Wells
                                       Fargo I, 2018 WL 5276294, at *2 (quoting the compensation plan; ellipses in original). “‘The fact
                                  27   that hourly pay (Advances on Commissions) is taken into account in calculating net
                                       commissions/incentives under this Plan shall not give Employer the right to recover any hourly
                                  28   pay back from any employee. Hourly pay is fully vested when received and is not subject to
                                       recapture by Employer under any circumstances.’” Id. at *3 (quoting the compensation plan).
                                                                                         13
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                                   1   PNC MLOs in this case, the Wells Fargo mortgage consultants took rest breaks without clocking

                                   2   out, so their rest periods were included in their hourly pay. Id. at *4. Also like this case, the

                                   3   Wells Fargo mortgage consultants received their regular pay biweekly, and any commissions they

                                   4   might have earned (after deducting that regular pay) monthly. Id. at *7. The district court found

                                   5   no distinction from Vaquero, and thus concluded that Wells Fargo’s plan violated Wage Order 4

                                   6   and section 226.7 of the Labor Code for failure to compensate for rest breaks. Id. at *6–8 (“An

                                   7   HMC whose commissions have in the aggregate matched or exceeded their hourly pay . . .

                                   8   receives wages for a month that are based on his or her commissions . . . . Such an HMC’s wage is

                                   9   entirely dependent on the HMC’s sales activity; it is not affected by whether or not the HMC takes

                                  10   a rest break.”). In an unpublished decision, the Ninth Circuit affirmed for the same reasons, and

                                  11   declined to reduce damages based on class members who only ever received hourly pay because

                                  12   Wells Fargo failed to prove that any such class members existed—the parties stipulated to a
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                                  13   number of employees that Wells Fargo contended never received commissions, but not that Wells

                                  14   Fargo was correct in that contention. Ibarra v. Wells Fargo Bank, N.A. (“Wells Fargo II”), 809 F.

                                  15   App’x 361, 363–64 (9th Cir. 2020).8

                                  16           In the California Supreme Court’s 2020 Oman decision, Delta Air Lines used a

                                  17   compensation system in which flight attendants were paid per work rotation, each of which

                                  18   consisted of a number of “duty periods,” as well as non-compensable layovers. 9 Cal. 5th at 783–

                                  19   84. Delta determined in advance the minimum amount to be paid for a particular rotation by

                                  20   applying one of three formulas to each duty period or an alternative fourth formula to the rotation

                                  21   as a whole—whichever resulted in the highest total. Id. at 784 & n.6 One formula “multipl[ied]

                                  22
                                       8
                                  23     Plaintiffs incorrectly characterize Wells Fargo II as “binding Ninth Circuit precedent,” which
                                       this Court must follow in the absence of any subsequent change to state law. Pls.’ Reply at 5. As
                                  24   an unpublished memorandum disposition, Wells Fargo II is “not precedent, except when relevant
                                       under the doctrine of law of the case or rules of claim preclusion or issue preclusion.” 9th Cir.
                                  25   Rule 36-3; see also Wells Fargo II, 809 F. App’x 361, 362 n.* (“This disposition is not
                                       appropriate for publication and is not precedent except as provided by Ninth Circuit Rule 36-3.”).
                                  26   Wells Fargo II—like the district court’s decision in Wells Fargo I—is relevant only to the extent
                                       that its reasoning is persuasive. The Court notes that Wells Fargo predated Oman by a matter of
                                  27   months and thus had no occasion to consider the significance of the California Supreme Court’s
                                       decision in that case, and that neither Wells Fargo decision adds significant analysis beyond
                                  28   Vaquero, which is stronger authority as to California law than these non-precedential federal
                                       decisions.
                                                                                         14
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                                   1   the attendant’s established flight pay rate by the total hours in [each] duty period, divided by two.”

                                   2   Id. at 784. Since all flights attendants’ “flight pay” rates were greater than twice the minimum

                                   3   wage, that method would always pay more than minimum wage for the duty period. Id. at 784–

                                   4   85. A second formula, which in practice applied to most duty periods, calculated pay based only

                                   5   on flight time: the flight attendant would receive their “flight pay” rate in full for each hour of

                                   6   flight, but other on-duty time (like preflight briefings) were not relevant to the calculation. Id. at

                                   7   785–86. But since Delta’s plan applied the formula that resulted in the highest compensation, that

                                   8   formula would never apply to a duty period made up of more non-flight time than flight time—the

                                   9   first formula would apply instead, and the flight attendant would receive more than minimum

                                  10   wage. Id. at 786. The two other formulas, addressed only briefly in Oman, provided for a

                                  11   minimum fixed payment per duty period, and for a minimum hourly rate for rotations with long

                                  12   off-duty layovers. Id. at 784. Flight attendants would request rotations based on a “bid packet”
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                                  13   that included, among other information, “which formula will apply and the minimum amount

                                  14   flight attendants would be paid for the rotation.” Id.

                                  15          Rejecting the plaintiff’s claim that the formula based on flight time failed to pay minimum

                                  16   wage for non-flight work, the California Supreme Court determined that “the scheme, taken as a

                                  17   whole, does not promise any particular compensation for any particular hour of work; instead, as

                                  18   discussed above, it offers a guaranteed level of compensation for each duty period and each

                                  19   rotation.” Id. at 786. The court concluded that “there are no on-duty hours for which Delta

                                  20   contractually guarantees certain pay,” and that there was “no evident inadequacy or unfairness in

                                  21   permitting Delta to compensate flight crew members on a per-rotation basis, at a level no less than

                                  22   contractually promised and in excess of the hourly minimum wage—nor is there any unfairness in

                                  23   permitting Delta to increase that compensation when, for example, duty periods include a greater

                                  24   percentage of flight time or rotations include more drawn-out off-duty layovers between duty

                                  25   periods.” Id. at 787.

                                  26          In reaching the conclusion that Delta’s compensation plan complied with minimum wage

                                  27   law, the California Supreme Court distinguished “no borrowing” cases from the issues before it:

                                  28                  Although we have not previously had occasion to address the issue,
                                                                                         15
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                                                 we agree with this consensus [of cases including Vaquero, Bluford,
                                   1             Gonzalez, and Armenta]: State law prohibits borrowing compensation
                                                 contractually owed for one set of hours or tasks to rectify
                                   2             compensation below the minimum wage for a second set of hours or
                                                 tasks, regardless of whether the average of paid and unpaid (or
                                   3             underpaid) time exceeds the minimum wage. Even if that practice
                                                 nominally might be thought to satisfy the requirement to pay at least
                                   4             minimum wage for each hour worked, it does so only at the expense
                                                 of reneging on the employer’s contractual commitments, in violation
                                   5             of the contract protection provisions of the Labor Code.
                                   6             Synthesizing the authorities, we summarize the principles this way.
                                                 The compensation owed employees is a matter determined primarily
                                   7             by contract. Compensation may be calculated on a variety of bases:
                                                 Although nonexempt employee pay is often by the hour, state law
                                   8             expressly authorizes employers to calculate compensation by the task
                                                 or piece, by the sale, or by any other convenient standard. [Citing Cal.
                                   9             Lab. Code § 200(a); Wage Order No. 9, § 4(B).] In many employment
                                                 agreements, such as the one at issue in Armenta [where the employer
                                  10             paid hourly wages], the unit of time or activity by which an employer
                                                 promises to pay an employee is easily ascertainable. In other cases,
                                  11             the employer may compensate employees based on a combination of
                                                 methods. (See, e.g., Vaquero, supra, 9 Cal. App. 5th at p. 103, 214
                                  12             Cal. Rptr. 3d 661 [compensation determined by the greater of sales
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                                                 commission or hourly minimum pay]; Gonzalez, supra, 215 Cal. App.
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                                  13             4th at p. 41, 155 Cal. Rptr. 3d 18 [compensation determined by greater
                                                 of repair tasks completed or minimum hourly pay].) Consistent with
                                  14             general contract interpretation principles, the unit for which pay is
                                                 promised should be determined based on the “mutual intention of the
                                  15             parties as it existed at the time of contracting.” (Civ. Code, § 1636.)
                                  16             Whatever the task or period promised as a basis for compensation,
                                                 however, an employer must pay no less than the minimum wage for
                                  17             all hours worked. (See Wage Order No. 9, §§ 2(H), 4.) The employer
                                                 must satisfy this obligation while still keeping any promises it has
                                  18             made to provide particular amounts of compensation for particular
                                                 tasks or periods of work. (Lab. Code, §§ 221–223.) For all hours
                                  19             worked, employees are entitled to the greater of the (1) amount
                                                 guaranteed by contract for the specified task or period, or (2) the
                                  20             amount guaranteed by the minimum wage. Whether a particular
                                                 compensation scheme complies with these obligations may be
                                  21             thought of as involving two separate inquiries. First, for each task or
                                                 period covered by the contract, is the employee paid at or above the
                                  22             minimum wage? Second, are there other tasks or periods not covered
                                                 by the contract, but within the definition of hours worked, for which
                                  23             at least the minimum wage should have been paid?
                                  24             For purposes of evaluating whether an employee has received at least
                                                 the hourly minimum wage for tasks or periods compensated under the
                                  25             contract, it is generally permissible to translate the contractual
                                                 compensation—whether it be done by task, work period, or other
                                  26             reasonable basis—into an hourly rate by averaging pay across those
                                                 tasks or periods. An employer can, for example, pay by the day, with
                                  27             daily pay averaged across all hours worked to determine whether the
                                                 resulting hourly wage exceeds the minimum. But an employer who
                                  28             instead promises to pay by the hour may not compensate any given
                                                                                   16
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                                                      hour at less than minimum wage. Nor may the employer make up for
                                   1                  the shortfall by pointing to other hours for which contractual
                                                      compensation exceeds the minimum wage. As the DLSE explained in
                                   2                  its letter, if a contract or bargaining agreement expressly guarantees
                                                      compensation for one set of tasks or one specific period, that
                                   3                  compensation may not be reduced to supplement pay for other tasks
                                                      or periods within the purview of the contract or bargaining agreement,
                                   4                  but otherwise undercompensated by them. (DLSE Opn. Letter No.
                                                      2002.01.29, supra, at p. 11; Lab. Code, §§ 221–223.)
                                   5
                                                      The same “no borrowing” principle applies when an employer
                                   6                  requires work not covered by the contract at all, but which falls within
                                                      the definition of hours worked under the minimum wage law. So, for
                                   7                  example, in Armenta, . . . the collective bargaining agreement ensured
                                                      pay at or above the minimum wage for hours engaged in specified
                                   8                  productive tasks, and under the agreement and Labor Code section
                                                      222, the employees were entitled to their promised wages without
                                   9                  diminution. But for other periods not compensated under the contract,
                                                      but during which employees were on duty and thus owed
                                  10                  compensation under the wage order, the minimum wage was also due.
                                  11   Id. at 781–83 (some brackets in original).9
                                  12           Justice Liu’s concurrence in Oman, joined by Justice Cuéllar, cautioned that “[c]ourts
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                                  13   should be careful not to allow employers to characterize their contractual commitments in ways

                                  14   that would effectively circumvent the no-borrowing rule” by, for example, “inserting into

                                  15   employment agreements a minimum wage floor—i.e., an agreement to make up the difference if

                                  16   an employee’s promised pay, averaged over all hours worked, falls below the applicable minimum

                                  17   wage.” Id. at 790–91 (Liu, J., concurring). Justice Liu construed Vaquero and Gonzalez as

                                  18   “recogniz[ing] that employers cannot circumvent their obligation to pay employees for all hours

                                  19   worked or to pay the full amount of commissions, piece rates, or other compensation promised to

                                  20

                                  21   9
                                         In a recent decision identified by PNC after briefing had concluded, the Ninth Circuit relied on
                                  22   Oman to reverse summary judgment granted against a different airline, Virgin America, on claims
                                       for failure to pay minimum wage and compensation for all hours worked. See Bernstein v. Virgin
                                  23   Am., Inc., __ F.3d __, Nos. 19-15382 et al., 2021 WL 867583, at *5–6 (9th Cir. Feb. 23, 2021) (as
                                       amended Mar. 8, 2021). The Ninth Circuit found no relevant distinction between Delta’s
                                  24   compensation system in Oman and Virgin America’s very similar compensation system, rejecting
                                       the plaintiffs’ argument that a flight attendant could theoretically be ordered to report many hours
                                  25   before a flight and not sufficiently compensated, because the plaintiffs did “allege[] that this ever
                                       happened, nor that it would plausibly happen.” Id. at *6. The Ninth Circuit affirmed summary
                                  26   judgment for the plaintiffs on rest break, meal break, wage statement, waiting time, and other
                                       wage-and-hour claims, because the panel determined that California law applied to the employees
                                  27   at issue and was not preempted, and Virgin America did not argue that it complied with those
                                       provisions of California law. Id. at *6–11. Bernstein adds little to the analysis here except to
                                  28   confirm that the Ninth Circuit, as it must, has followed the California Supreme Court’s
                                       interpretation of state law.
                                                                                          17
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                                   1   employees simply by inserting a minimum wage floor into an employment agreement.” Id. at 792.

                                   2          Following its decision in Oman, the California Supreme Court vacated an appellate

                                   3   decision affirming summary judgment for an employer in Certified Tire & Service Centers Wage

                                   4   & Hour Cases, 28 Cal. App. 5th 1 (2018), remanding with instructions to reconsider in light of

                                   5   Oman. 473 P.3d 312 (Cal. 2020). Both parties here argue that the remand instructions in Certified

                                   6   Tire support their respective positions. Def.’s Opp’n at 16; Pl.’s Reply at 8. The Court disagrees,

                                   7   and discerns from those instructions no relevant information about the state of California law

                                   8   beyond the precedent discussed above.

                                   9          C.    PNC’s Compensation Plan Violated California Law
                                  10          Here, PNC always paid its MLOs a base rate of compensation. Smiles MSJ Decl. (dkt.

                                  11   163-6) ¶¶ 3–4. PNC characterizes that pay as a salary (with additional pay for overtime) and

                                  12   Plaintiffs characterize as an hourly wage, but Plaintiffs do not dispute that, standing alone, the
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                                  13   base pay would satisfy minimum wage requirements. PNC encouraged MLOs to take rest breaks

                                  14   consistent with Wage Order and instructed them to remain clocked in during those breaks, so the

                                  15   base rate of pay—again, standing alone—would include adequate compensation for rest breaks.

                                  16          In addition to that base rate of pay, PNC offered various forms of additional incentive

                                  17   compensation. Some such compensation was not tied directly to loan sales, such as onboarding

                                  18   incentives or bonuses determined by local management, and is of limited relevance. See id. ¶ 11.

                                  19   The incentive compensation at the heart of this case, PNC’s “Plan Incentive Pay,” was tied to loan

                                  20   sales, in a manner resembling—if not constituting, as PNC disputes—commissions. The

                                  21   calculation of that incentive pay was derived in large part on a percentage of the MLOs’ loan sales

                                  22   (calculated using basis points that varied depending on the type and size of the loan), as well as

                                  23   other factors like compliance with company policies, but subtracted the MLO’s regular pay (plus

                                  24   any deficit carried over from previous months) before reaching a total. See, e.g., id. ¶¶ 5–6;

                                  25   Swidler Decl. (dkt. 160-6) Ex. 1-J (compensation plan effective January 1, 2017). Deficits in one

                                  26   month, where an MLO’s Plan Incentive Pay did not exceed the MLO’s regular pay and certain

                                  27   other costs, were typically carried over to subsequent months, and thus would serve to reduce any

                                  28   future Plan Incentive Pay, although MLOs always received their base pay and were never required
                                                                                         18
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                                   1   to pay any amount back to PNC at the end of their employment. See Smiles MSJ Decl. ¶ 5.

                                   2   Deficits sometimes were not carried over between months, including in the first few months of an

                                   3   MLO’s employment and in certain other circumstances defined in the compensation plans. Smiles

                                   4   Class Cert. Decl. (dkt. 76-26) ¶ 13.

                                   5           The difficulty of fitting PNC’s compensation plan into the framework of the California

                                   6   precedent discussed above arises from tension between Oman and Vaquero. Oman sets forth a

                                   7   relatively simple test:

                                   8                   For all hours worked, employees are entitled to the greater of the
                                                       (1) amount guaranteed by contract for the specified task or period, or
                                   9                   (2) the amount guaranteed by the minimum wage. Whether a
                                                       particular compensation scheme complies with these obligations may
                                  10                   be thought of as involving two separate inquiries. First, for each task
                                                       or period covered by the contract, is the employee paid at or above
                                  11                   the minimum wage? Second, are there other tasks or periods not
                                                       covered by the contract, but within the definition of hours worked, for
                                  12                   which at least the minimum wage should have been paid?
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                                  13   Oman, 9 Cal. 5th at 782.

                                  14           PNC’s compensation plan could be said to pass that test, in that PNC always provided a

                                  15   base level of pay that included compensation for rest breaks, and the only deductions to incentive

                                  16   pay were consistent with the MLOs’ contracts. But the compensation plan in Vaquero, which

                                  17   Oman endorsed as among the consensus of cases with which it agreed, see id. at 781, could be said

                                  18   to pass that test in the same manner: the sales representatives in that case always received at least

                                  19   $12.01 per hour (including for rest breaks), which is more than the minimum wage, and they

                                  20   received what their contract provided, because the contract only called for them to receive more

                                  21   than that hourly rate—in the form of commissions—when their commissions exceeded any deficit

                                  22   that had previously been compensated by the hourly wage floor. Vaquero, 9 Cal. App. 5th at 103.

                                  23   There is no indication that the employees could ever end up owing their employer money at the

                                  24   conclusion of their employment for failure to make sufficient sales—to the contrary, the plan

                                  25   provided that “an employee will always receive at least $12.01 per hour for every hour worked.”

                                  26   Id. The Vaquero court nevertheless concluded that the compensation plan was impermissible

                                  27   because it treated wages paid (including for rest breaks) when an employee failed to earn

                                  28   sufficient commissions as a draw against any future commissions.
                                                                                         19
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                                   1            This Court declines to read Oman as overruling Vaquero as to two issues Oman was not

                                   2   faced with: claims for failure to compensate rest breaks, and a compensation plan that treated

                                   3   wages paid as a deficit incurred against current or future commissions. As Vaquero noted, rest

                                   4   breaks are “sacrosanct” under California law, an “unwaivable” component of the state’s “remedial

                                   5   worker protection framework,” which must be guarded against compensation plans that would

                                   6   “undermine this protective policy by discouraging employees from taking rest breaks.” Vaquero,

                                   7   9 Cal. App. 5th at 113. And offsetting past payments against future incentive compensation

                                   8   implicates Labor Code section 221 (prohibiting “any employer to collect or receive from an

                                   9   employee any part of wages theretofore paid by said employer to said employee”) and Wage

                                  10   Order 4 (providing at section 12(A) for “no deduction from wages” for rest breaks) in ways not at

                                  11   issue for the rotation-based compensation plan in Oman. The Court therefore accepts Vaquero as

                                  12   an accurate statement of California law at least with respect to rest break compensation. See Owen
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                                  13   ex rel. Owen v. United States, 713 F.2d 1461, 1464 (9th Cir. 1983) (“In the absence of a

                                  14   pronouncement by the highest court of a state, the federal courts must follow the decision of the

                                  15   intermediate appellate courts of the state unless there is convincing evidence that the highest court

                                  16   of the state would decide differently.” (citation omitted)); Oman, 9 Cal. 5th at 781 (citing Vaquero

                                  17   with approval).

                                  18            PNC primarily distinguishes Vaquero and similar authority—in particular, Wells Fargo—

                                  19   on three grounds. First, in PNC’s view (but disputed by Plaintiffs), PNC paid its MLOs a salary

                                  20   rather than hourly wages. Second, rather than labeling regular pay an advance or draw on

                                  21   commissions,10 representing that MLOs “earned” a particular “commission” that might then be

                                  22   reduced, or treating regular pay as an alternative “floor” to be paid only when an MLO failed to

                                  23   meet incentive thresholds, PNC always paid its MLOs their regular pay and incorporated that

                                  24   amount as part of the formula it used to calculate Plan Incentive Pay before determining whether

                                  25   MLOs “earned” any such compensation. Third, PNC notes that it paid other forms of incentive

                                  26   compensation separately from Plan Incentive Pay, which were not deducted from Plan Incentive

                                  27
                                       10
                                  28     As Plaintiffs note, there is some evidence of PNC labeling MLOs’ regular pay as a “draw,”
                                       albeit only in limited circumstances that PNC’s witnesses assert were mistaken or misleading.
                                                                                        20
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                                   1   Pay. See Def.’s Opp’n at 10–11.11

                                   2                   1. Order of Calculation
                                   3            Turning to the order of PNC’s calculation, the Court concludes that this formal difference

                                   4   from the pay structure in Vaquero does not warrant a different outcome. In Vaquero, employees

                                   5   were paid in one of two ways: they generally received only commissions, but if their commissions

                                   6   averaged over a pay period did not exceed $12.01 per hour of work, they instead received pay at

                                   7   that rate, with difference carried forward to offset any future commissions. Here, PNC always

                                   8   provided regular pay, and incorporated the offset for that pay (including any deficits to Plan

                                   9   Incentive Pay from previous months) within the incentive calculation before determining how

                                  10   much, if any, Plan Incentive Pay an MLO would receive. The effect is the same. In either case,

                                  11   an employee who eventually earned incentive pay would receive the same total compensation

                                  12   through that point regardless of whether they had been previously been compensated for any rest
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                                  13   breaks at the time they took them. PNC’s witness under Rule 30(b)(6), Michael Smiles, testified

                                  14   as such with respect to pay within a given month where an MLO earned Plan Incentive Pay,

                                  15   Swidler Decl. Ex. 1-R (Smiles Dep.) at 147:19–148:2,12 and with the exception of limited

                                  16   circumstances where deficits were forgiven, PNC’s deficit carryover policy resulted in the same

                                  17   effect where an MLO failed to earn Plan Incentive Pay in one month but earned it in a later month.

                                  18            Just as in Vaquero, PNC MLOs effectively received no additional payment for their rest

                                  19   breaks. And just as in Vaquero, that failure to “compensate employees directly for rest periods

                                  20   undermine[s the state’s] protective policy by discouraging employees from taking rest breaks.”

                                  21
                                       11
                                  22      PNC lists a total of eight reasons to depart from the outcome in Wells Fargo, Def.’s Opp’n at 9–
                                       12, several of which (items two through five) this order subsumes within the three broad
                                  23   categories set forth above that warrant detailed discussion. To briefly address the remaining
                                       contentions, using PNC’s numbering: (1) while Wells Fargo involved stipulated facts and this case
                                  24   does not, the Court resolves this issue viewing the disputed facts in the light most favorable to
                                       PNC; (6) the special case of MLOs who never qualified for Plan Incentive Pay is addressed
                                  25   separately below; (7) PNC cites declarations from two MLOs who believe they were paid for all
                                       time worked and for rest breaks, but individual employees’ perceptions of this issue—which turns
                                  26   in part on questions of law—are not dispositive, and entitlement to pay for rest breaks is not
                                       waivable; and (8) as discussed above, the Court rejects PNC’s view that Oman limits the holding
                                  27   of Vaquero with respect to pay for rest breaks that is later recaptured.
                                       12
                                          “Q. So the net effect of PNC paying for rest periods if the employee is beyond the threshold is
                                  28   there is no change in what the employee earns at the end of the month, correct? . . . A. Their total
                                       at the end of the month would be no different.”
                                                                                          21
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                                   1   Vaquero, 9 Cal. App. 5th at 113. The different method of calculation that PNC used here does

                                   2   nothing to support the “the remedial worker protection framework” established by California’s

                                   3   Labor Code and wage orders. See id. (citation and internal quotation marks omitted). To the

                                   4   contrary, its compensation plan is equivalent to “simply . . . inserting . . . a minimum wage floor,”

                                   5   as Justice Liu’s Oman concurrence warns would undermine the purposes of the Labor Code and

                                   6   wage orders, and as Vaquero and Gonzalez held was insufficient to comply with those authorities.

                                   7   See Oman, 9 Cal. 5th at 791–92 (Liu, J., concurring) (discussing Vaquero and Gonzalez). The

                                   8   California Supreme Court has held that rest break provisions of IWC wage orders “must be

                                   9   interpreted in the manner that best effectuates [their] protective intent.” Brinker Rest. Corp. v.

                                  10   Superior Court, 53 Cal. 4th 1004, 1027 (2012); see Vaquero, 9 Cal. App. 5th at 113. Allowing the

                                  11   form-over-substance distinction between the compensation plans here and in Vaquero to excuse

                                  12   PNC’s effective failure to compensate rest breaks separately from incentive payments would not
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                                  13   further that intent.

                                  14           PNC cites two cases as supporting its view that the order of calculations is determinative.

                                  15   See Def.’s Opp’n at 11. In Prachasaisoradej v. Ralphs Grocery Co., 42 Cal. 4th 217 (2007), the

                                  16   California Supreme Court held that the defendant grocery store’s profit-sharing plan did not

                                  17   violate statutes and regulations prohibiting collecting any part of an employee’s wages or

                                  18   deducting wages for expenses not caused by an employee’s misconduct merely because wages and

                                  19   other expenses were factors that determined whether the store made a profit that could be shared.

                                  20   The court distinguished cases where an “employee’s compensation, whether regular or

                                  21   supplementary, was set, in essence, as a sales commission, i.e., a specified and promised share of

                                  22   the revenues attributable to that employee’s personal sales or managerial efforts,” but “was then

                                  23   directly reduced by the full dollar value of merchandise and cash losses, as determined by the

                                  24   employer, and regardless of employee fault,” in violation of California law. 42 Cal. 4th at 236

                                  25   (citing, e.g., Kerr’s Catering Serv. v. Dep’t of Indus. Relations, 57 Cal. 2d 319 (1962); Quillian v.

                                  26   Lion Oil Co., 96 Cal. App. 3d 156 (1979)). The court concluded that the profit-sharing plan at

                                  27   issue did not resemble those impermissible pay structures, and instead served “to promote and

                                  28   reward employee teamwork that produced a net profit for the store as a whole,” which was
                                                                                         22
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                                   1   “beneficial to both employer and employees.” Id. at 237. In the California Supreme Court’s view,

                                   2   it “would defy reason and common sense” to hold that the profit-sharing plan “contravenes the

                                   3   wage-protection policies of the Labor Code.” Id.

                                   4           This case does not resemble Prachasaisoradej. It is instead more like the earlier cases that

                                   5   Prachasaisoradej distinguished—particularly Quillian, where, like here, the employer

                                   6   unsuccessfully defended its plan on the basis that it included the challenged deductions in its

                                   7   formula for calculating what incentive pay was due beyond a base wage, rather than applying

                                   8   deductions against amounts already “earned.” See Prachasaisoradej, 4 Cal. 4th at 232–33;

                                   9   Quillian, 96 Cal. App. 3d at 161. MLOs’ regular pay for rest breaks was set off, dollar for dollar,

                                  10   against any Plan Incentive Pay they might otherwise earn, which (like a commission) otherwise

                                  11   consisted, at least in large part, of a specific “share of the revenues attributable to that employee’s

                                  12   personal sales or managerial efforts.” Cf. Prachasaisoradej, 4 Cal. 4th at 236. Prachasaisoradej
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                                  13   did not address rest breaks or the sort of direct recapture of pay at issue here, and its analysis

                                  14   rooted in the policies underlying the Labor Code tends to weigh against blessing a plan

                                  15   indistinguishable in effect from one the Vaquero court determined would undermine those

                                  16   policies.

                                  17           The other case that PNC cites on this point involved Bank of America loan officers

                                  18   challenging their employer’s policy of holding loan officers partially responsible for certain

                                  19   “underages” when loans were issued with lower-than-published interest rates. Marr v. Bank of

                                  20   Am. (“Marr I”), No. C 09-05978 WHA, 2011 WL 845914, at *3 (N.D. Cal. Mar. 8, 2011), aff’d

                                  21   (“Marr II”), 506 F. App’x 661 (9th Cir. 2013). Judge Alsup cited Prachasaisoradej for

                                  22   recognizing a “distinction made was between a plan that provides a wage, makes deductions, and

                                  23   then provides a reduced wage, and a plan that does not provide a wage amount until costs are

                                  24   taken into account,” and approving the latter. Id. at *4. Marr did not involve claims based on rest

                                  25   break—compensation for which Vaquero held cannot be paid through commissions alone. See

                                  26   Vaquero, 9 Cal. App. 5th at 117 (holding “that such compensation plans must separately account

                                  27   and pay for rest periods to comply with California law”). The Ninth Circuit affirmed summary

                                  28   judgment for the defendant in Marr on grounds unrelated to Prachasaisoradej, citing a separate
                                                                                          23
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                                   1   line of California cases allowing deductions from commissions “when (1) the deductions are tied

                                   2   to the employee’s sales rather than general business expenses, and (2) the employee agrees to the

                                   3   deductions by contract,” and noting only that Prachasaisoradej “did not alter this framework.”

                                   4   Marr II, 506 F. App’x at 661 (citing, e.g., Koehl v. Verio, Inc., 142 Cal. App. 4th 1313 (2006)).

                                   5   PNC has not argued that its MLOs’ compensation for rest breaks fall within that doctrine as an

                                   6   expense “tied to the employee’s sales.” See id.; cf. Vaquero, 9 Cal. App. 5th at 111 (“Indeed, the

                                   7   purpose of a rest period is to rest, not to work.”). Marr therefore does not inform the resolution of

                                   8   this case.

                                   9           In a similar argument, PNC contends that the California Supreme Court’s decision in

                                  10   Schachter v. Citigroup, Inc., 47 Cal. 4th 610 (2009), supports its position that employers have

                                  11   wide latitude to structure incentive compensation. Def.’s Opp’n at 18. Schachter involved an

                                  12   employee who elected to receive restricted stock—which would vest only after two years of
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                                  13   employment—in lieu of a portion of his regular cash compensation, but voluntarily resigned from

                                  14   his job before the stock vested, resulting in the forfeiture of his restricted shares. 47 Cal. 4th at

                                  15   614–15. The court rejected the plaintiff’s contention that upon his resignation and the forfeiture of

                                  16   his stock, his employer should have paid him the cash that he had given up when he elected to

                                  17   receive the restricted stock. Id. at 621. Instead, the court held that the vesting schedule for the

                                  18   stock, requiring continued employment over two years, was a valid condition precedent for

                                  19   receiving incentive compensation in the form of fully vested and transferable stock. Id. at 621–22.

                                  20   Schachter did not address rest breaks, or a policy that directly applied pay intended to compensate

                                  21   for rest breaks as a deduction against future incentive compensation, and thus does not alter this

                                  22   Court’s conclusion that Vaquero controls.

                                  23                  2. Salary Versus Hourly Wage
                                  24           With respect to payment as a salary rather than hourly wages, PNC highlights a footnote of

                                  25   Vaquero declining to reach the question of whether a salary pay structure would alter its analysis,

                                  26   which PNC asserts serves as “guidance” that “the payment of salary satisfies an employer’s

                                  27   obligation to pay for rest breaks.” Def.’s Opp’n at 11. The footnote in question reads as follows:

                                  28   “This case does not involve, and we have no occasion to question, the propriety of compensation
                                                                                          24
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                                   1   plans that pay non-exempt employees a salary that compensates them for rest periods and other

                                   2   nonproductive work time.” Vaquero, 9 Cal. App. 5th at 110 n.8. Non-occasion to reach a

                                   3   question is not guidance as to its answer. Lest there be any confusion as to the Vaquero court’s

                                   4   intent in declining to address the issue, a separate footnote of the same opinion admonishes

                                   5   defense counsel in that case for characterizing the earlier Gonzalez decision as having “‘expressly

                                   6   refused to extend’ Armenta and Bluford (which was actually decided after Gonzalez) to

                                   7   commission pay plans,” when Gonzalez in fact only declined to consider the issue on appeal

                                   8   because it was not addressed by the trial court. Id. at 111 n.1. In the words of Vaquero,

                                   9   “Gonzalez does not hold or say any such thing.” Id. The same is true here—Vaquero does not

                                  10   address whether a salary must separately compensate for rest periods.

                                  11          More importantly, there is no indication that the footnote in Vaquero contemplated a salary

                                  12   coupled with a commission-like incentive plan that deducts the value of the salary from any future
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                                  13   incentive payments, as opposed to merely the question of whether a salary on its own must

                                  14   account for rest periods separately from productive time. PNC has not explained why the

                                  15   distinction between a salary and an hourly wage would be meaningful in this context. Accepting

                                  16   PNC’s view that it paid MLOs a salary rather than an hourly wage, some portion of that salary

                                  17   compensated the employees for their rest breaks. But just like the hourly wage for rest breaks in

                                  18   Vaquero, that compensation was effectively recaptured when it served as an offset to future

                                  19   incentive payments. While this Court is not aware of any California decision specifically

                                  20   addressing a salary that offsets future incentive compensation, California courts have, thus far,

                                  21   found the particular form of pay less important than the no-borrowing principle and the protection

                                  22   of rest break compensation. See Oman, 9 Cal. 5th at 781 (noting that “decisions have extended the

                                  23   no-borrowing rule to employees under a collective bargaining agreement [Bluford] and an

                                  24   ordinary contract [Gonzalez], and without regard to whether the basis for compensation is hourly

                                  25   [citation omitted], by piece rate [Bluford; Gonzalez], or by commission [Vaquero]”).

                                  26                  3. Other Forms of Incentive Payment
                                  27          PNC also contends that its non-Plan incentive payments, such as onboarding bonuses and

                                  28   discretionary bonuses issued by local management, satisfy its obligation to pay for rest breaks.
                                                                                        25
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                                   1   See Def.’s Opp’n at 9. The Court disagrees. PNC represented the bonuses as for purposes other

                                   2   than compensating rest breaks or hours worked, and distinguished them from MLOs’ “salaries.”

                                   3   There is no evidence that any party understood these particular incentives as pay for rest breaks.

                                   4   Under a straightforward application of Armenta and its progeny, PNC cannot “borrow” those

                                   5   payments to satisfy its rest break or minimum wage obligations without breaching the terms on

                                   6   which it made the payments. The bonus payments do not resemble the rotation payments in

                                   7   Oman, which Delta presented and all parties understood as compensation for work performed, nor

                                   8   are they comparable to the sort of “contractual compensation . . . done by task, work period, or

                                   9   other reasonable basis”—all of which would reasonably be understood as pay for work

                                  10   performed—that the Oman court held could be averaged to determine whether an employer met

                                  11   minimum wage obligations (without addressing rest breaks). Cf. Oman, 9 Cal. 5th at 782; Def.’s

                                  12   Opp’n at 12 n.12.
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                                  13                                                   ***

                                  14            The Court therefore concludes that PNC’s compensation plan violated California law by

                                  15   impermissibly deducting the portion of MLOs’ regular pay attributable to rest breaks in

                                  16   calculating Plan Incentive Pay.13

                                  17            This is true even where MLOs never received Plan Incentive Pay, because the deficits they

                                  18   accrued as a result of their rest breaks reduced their ability to earn Plan Incentive Pay to which

                                  19   they could have been entitled in the future but for the impermissible compensation structure,

                                  20   rendering the payment insufficiently definite to comply with California law. So long as an MLO

                                  21   was eligible to earn Plan Incentive Pay, any pay for a rest break was at risk of effectively being

                                  22   subsumed within the incentive payment for a large loan the MLO might issue later the same day,

                                  23   undermining California’s worker protection policies by reducing employees’ incentive to take rest

                                  24   breaks as recognized in Vaquero—even if the deficit created by the salary paid for that break also

                                  25   might be forgiven in some future period if the MLO failed to sell enough loans to earn Plan

                                  26
                                       13
                                  27     Both parties’ arguments have primarily addressed the rest break claims that the Court certified
                                       for class treatment. It is not clear whether Scheid still intends to pursue claims for other
                                  28   nonproductive time on an individual basis or under PAGA, which were not disposed of by the
                                       class certification orders. This order does not address whether such claims are viable after Oman.
                                                                                         26
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                                   1   Incentive Pay before then. The rest breaks therefore were not provided “in accordance with state

                                   2   law,” entitling the MLOs to recovery under section 227(c) equal to one hour of pay per workday.

                                   3   See Sanchez, 54 Cal. App. 5th at 545 (affirming damages based on the one-hour penalty when an

                                   4   employer failed to pay his workers for rest breaks separately from their piece-rate

                                   5   compensation).14

                                   6            Plaintiffs are entitled to summary adjudication of this issue.

                                   7            D.   Effect of Settlements
                                   8            As a general rule, “‘[r]es judicata, also known as claim preclusion, bars litigation in a

                                   9   subsequent action of any claims that were raised or could have been raised in the prior action’ . . .

                                  10   whenever there is ‘(1) an identity of claims, (2) a final judgment on the merits, and (3) identity or

                                  11   privity between parties.’” Owens v. Kaiser Found. Health Plan, Inc., 244 F.3d 708, 713 (9th Cir.

                                  12   2001) (quoting Western Radio Servs. Co. v. Glickman, 123 F.3d 1189, 1192 (9th Cir. 1997)).
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                                  13   “However, the claim preclusion ‘inquiry is modified in cases where the earlier action was

                                  14   dismissed in accordance with a release or other settlement agreement.’” Wojciechowski v.

                                  15   Kohlberg Ventures, LLC, 923 F.3d 685, 689 (9th Cir. 2019). Courts then “look to the intent of the

                                  16   settling parties to determine the preclusive effect of a dismissal with prejudice entered in

                                  17   accordance with a settlement agreement, rather than to general principles of claim preclusion,” and

                                  18   apply the terms of the release included in the settlement agreement. Id.

                                  19            The power to release claims in a class settlement is limited to claims “‘based on the

                                  20   identical factual predicate as that underlying the claims in the settled class action.’” Hesse v.

                                  21   Sprint Corp., 598 F.3d 581, 590 (9th Cir. 2010) (quoting Williams v. Boeing Co., 517 F.3d 1120,

                                  22   1133 (9th Cir. 2008); Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1288 (9th Cir. 1992)).

                                  23   Courts have generally interpreted that requirement to coincide with the general res judicata test of

                                  24   whether claims share a “common nucleus of operative fact.” See Class Plaintiffs, 955 F.2d at

                                  25   1288 (affirming approval of a settlement including a release where the claims in the two cases at

                                  26
                                       14
                                  27      Because failure to compensate rest breaks in accordance with state law can support section
                                       226.7’s one-hour premiums under Sanchez, Plaintiffs’ claim for such relief falls within the class
                                  28   definition of “‘claims based on alleged failure to pay for rest breaks, and claims derivative of such
                                       a theory.’” Cf. Def.’s Reply at 9 (quoting 1st Class Cert. Order at 16).
                                                                                         27
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                                   1   issue “arise from the same common nucleus of operative fact”); Belew v. Brink’s, Inc., 721 F.

                                   2   App’x 734, 735 (9th Cir. 2018) (citing Class Plaintiffs to apply the “common nucleus” test to

                                   3   evaluate a release in a class settlement); 6 Newberg on Class Actions § 18:19 (5th ed.) (“In giving

                                   4   meaning to what constitutes an ‘identical factual predicate,’ courts have generally fallen back on

                                   5   the broad conclusion that the test requires only ‘a common nucleus of operative fact,’ and hence

                                   6   have equated the test with the normal transactional test underlying the scope of claim preclusion

                                   7   itself.” (footnotes omitted)); cf., e.g., Lucky Brand Dungarees, Inc. v. Marcel Fashions Grp., Inc.,

                                   8   140 S. Ct. 1589, 1595 (2020) (explaining that the general test for res judicata turns on the

                                   9   “common nucleus” standard). One Ninth Circuit decision held that the “identical factual

                                  10   predicate” standard for a class release is narrower, and better equated to issue preclusion than

                                  11   claim preclusion, but that case conflicts with Class Plaintiffs’ earlier holding that the “common

                                  12   nucleus” test applies, and it was reversed on other grounds by the Supreme Court. Epstein v.
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                                  13   MCA, Inc., 50 F.3d 644, 663 (9th Cir. 1995), rev’d sub nom. Matsushita Elec. Indus. Co. v.

                                  14   Epstein, 516 U.S. 367 (1996).

                                  15            Effectively, a class settlement can choose to reserve issues for future litigation that would

                                  16   otherwise have been precluded by a judgment on the merits, or may extend as broadly as the usual

                                  17   rules of res judicata, but may not release further claims beyond that scope.15

                                  18                   1. The Bland Settlement
                                  19            On April 11, 2017, the U.S. District Court for the Western District of Pennsylvania entered

                                  20   an order of final approval of the class and collective settlement in Bland, including specifically

                                  21   ordering that members of the class were subject to the release in the settlement agreement. Def.’s

                                  22   Request for Judicial Notice re Def.’s MSJ (dkt. 159) Ex. 3. As part of the agreement, each class

                                  23   member released:

                                  24
                                       15
                                  25      Both parties’ briefs treat this limitation as a due process issue unique to class actions and
                                       intended to protect the interests of absent class members from inadequate representation, relying
                                  26   on Hesse’s analysis of challenges both to the scope of the release at issue and to the adequacy of
                                       plaintiffs in the earlier case to represent the plaintiffs in the case at hand. See Hesse, 598 F.3d at
                                  27   588–92. Hesse did not hold that the “identical factual predicate” test derives from concerns about
                                       inadequate representation, and the earlier Ninth Circuit cases on which it relies treated the issue
                                  28   instead as concerning the scope of a court’s power to enter judgment—much like res judicata.
                                       See, e.g., Class Plaintiffs, 995 F.2d at 1287–88.
                                                                                            28
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                                   1                  any claim he or she has or may have from the beginning time through
                                                      January 4, 2017, against [PNC], as asserted in this case or that could
                                   2                  have been so asserted in this case, under the FLSA or state wage and
                                                      hour or common law, based on the allegations in the complaint, that
                                   3                  accrued while the Eligible Settlement Class Member worked for PNC
                                                      as an [sic] Mortgage Loan Office, including any claims for non-
                                   4                  payment of or improper payment of overtime compensation under any
                                                      federal, state, or local law or regulation or common law, including but
                                   5                  not limited to claims under the federal Fair Labor Standards Act and
                                                      the wage and hour laws in the [sic] Pennsylvania, New Jersey, Ohio,
                                   6                  California, Maryland, Kentucky, Missouri, Illinois, Indiana,
                                                      Washington, New Jersey, and/or New York and all other state and
                                   7                  local wage and hour laws, relating to employment at PNC as a
                                                      Mortgage Loan Officer. This includes claims for liquidated damages,
                                   8                  attorneys’ fees, costs, and expenses.
                                   9   Id. Ex. 2 (“Bland Settlement”) ¶ 4.1.

                                  10          The plaintiffs in Bland, represented by some of the same attorneys as in this case, brought

                                  11   claims for failure to pay minimum wage and overtime as required by the federal Fair Labor

                                  12   Standards Act and the laws of various states, see id. Ex. 1 (“Bland Compl.”) ¶¶ 193–99, 228–40,
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                                  13   breach of contract, id. ¶¶ 200–05, unjust enrichment, id. ¶¶ 206–14, and violation of other state

                                  14   laws—only identified generally, but including the California Labor Code and California wage

                                  15   orders—by deducting regular pay from incentive pay, id. ¶¶ 215–27. The complaint in that case

                                  16   alleged that PNC purported to pay MLOs a salary based on a forty-hour work week, as well as an

                                  17   additional amount calculated by basis points on loans sold during a limited initial period of

                                  18   employment, and then deducted MLOs’ salary (plus the non-premium portion of overtime pay)

                                  19   from incentive compensation in a manner similar to PNC’s conduct at issue here. Id. ¶¶ 93, 95–

                                  20   96, 104–05, 117–21.

                                  21          Plaintiffs do not dispute that the Bland complaint describes the same compensation plan at

                                  22   issue here, but argue that it does not encompass their claims because it did not specifically address

                                  23   rest breaks or other nonproductive time. The Court nevertheless concludes that Plaintiffs’ claim

                                  24   for failure to compensate rest breaks falls within the release. The Bland complaint included

                                  25   comprehensive allegation regarding PNC’s compensation of MLOs, including their base pay

                                  26   annualized to compensate a forty-hour work week, and the Plan Incentive Pay which treated that

                                  27   base pay as a deduction in determining whether MLOs would receive additional compensation

                                  28   based on the loans they sold. Bland Compl. ¶¶ 104–21. There is no dispute that MLOs’ rest
                                                                                        29
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                                   1   breaks fell within the forty hours per week purportedly compensated by their regular pay. Nor is

                                   2   there any basis to exclude rest breaks from Bland’s discussion of working hours more generally—

                                   3   e.g., id. ¶¶ 150–51 (asserting failure to pay for “all hours worked” based on deductions of regular

                                   4   pay from incentive pay)—because both California and federal law require that compensable rest

                                   5   breaks be treated as hours worked. See 29 C.F.R. § 785.18 (“Rest periods of short duration . . .

                                   6   must be counted as hours worked.”); Wage Order 4 § 12(A) (“Authorized rest period time shall be

                                   7   counted as hours worked . . . .”). Plaintiffs cite a separate provision of Wage Order 4 defining

                                   8   “hours worked” as time subject to an employer’s control, which would not encompass rest breaks,

                                   9   see Pls.’ Opp’n at 9–10 (citing Wage Order 4 § 2(K)), but the specific instruction that rest breaks

                                  10   “shall be counted as hours worked,” Wage Order 4 § 12(A), controls over that more general

                                  11   definition.

                                  12          Plaintiffs misleadingly quote the Ninth Circuit’s unpublished decision in Belew for the
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                                  13   proposition that “‘claims relating to meal and rest period violations . . . arise from factual

                                  14   predicates different from claims alleging unpaid . . . wages.’” Pls.’ Opp’n at 4 n.2 (quoting Belew,

                                  15   721 F. App’x at 735) (ellipses in original). The first ellipsis in Plaintiffs’ quotation omits other

                                  16   claims brought in addition to rest period violations, including minimum wage claims, and the

                                  17   second ellipsis obscures word “overtime.” See Belew, 721 F. App’x at 735. There is no doubt that

                                  18   failure to pay overtime wages—for example, by discouraging employees from reporting their

                                  19   overtime, as the Bland plaintiffs alleged separately from their recapture theory—relies on a factual

                                  20   predicate distinct from rest period claims. But a claim for failure to pay wages at all due to

                                  21   impermissible recapture from incentive pay, as also asserted in Bland, rests on precisely the same

                                  22   factual predicate as Plaintiffs’ claim here, because the same wages recaptured in that case

                                  23   purportedly compensated MLOs for their rest breaks.

                                  24          The Court concludes that Plaintiffs’ claims for failure to compensate rest periods through

                                  25   January 4, 2017 fall within the Bland release as claims that “could have been . . . asserted in [that]

                                  26   case, under . . . state wage and hour or common law, based on the allegations in the complaint,”

                                  27

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                                   1   Bland Settlement ¶ 4.1, and arise from identical factual predicate16 as the claims asserted in that

                                   2   case based on deductions from incentive pay. That Plaintiffs here seek a different remedy17 under

                                   3   a theory not specifically asserted in Bland is immaterial. Such claims are barred for members of

                                   4   the Bland class by the release in that case.

                                   5             Plaintiffs do not dispute that Scheid’s individual claims for failure to compensate

                                   6   nonproductive time other than rest breaks through January 4, 2017 are barred by Bland. PNC is

                                   7   entitled to summary judgment on that issue as well, for the same reasons as the Class’s rest break

                                   8   claims.

                                   9             The parties have not addressed in detail whether Plaintiffs’ wage statement and waiting

                                  10   time claims fall within the Bland release. PNC argues briefly that those claims “do not involve

                                  11   separate evidence of violations.” Def.’s Reply at 6. Whether that is true for the wage statement

                                  12   claims might be a close question, since those turn on distinct facts regarding the contents of wage
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                                  13   statements. The Court need not reach that question for the Class as a whole—as discussed in a

                                  14   separate section below, the wage statement claims asserted in this case are not appropriate for

                                  15   class treatment due to individualized issues raised by the lack of any statutory presumption of

                                  16   harm.18 As for waiting time penalties, PNC is correct. Any liability for failure to pay

                                  17   compensation owed within a particular time after the conclusion of an employment relationship

                                  18   flows directly from the facts alleged in Bland regarding whether such compensation was owed and

                                  19   unpaid to begin with. Plaintiffs’ waiting time claims arise from a common nucleus of fact as the

                                  20   allegations in Bland and could have been asserted based on those allegations. To the extent they

                                  21   are based on failure to compensate rest breaks through January 4, 2017, waiting time claims under

                                  22

                                  23   16
                                          Although, as discussed above, the “identical factual predicate” standard is best interpreted as
                                  24   coextensive with the “common nucleus” standard for res judicata, the Court would reach the same
                                       conclusion under the narrower standard advanced by Plaintiffs.
                                       17
                                  25      The holding of Sanchez, that employees may recover either wages or one-hour premiums (but
                                       not both) for inadequately compensated rest breaks, 54 Cal. App. 5th at 546–47, reinforces this
                                  26   conclusion, because MLOs who were members of the Bland class already received compensation
                                       through that settlement on the theory that they were not paid for the forty hours per week their
                                  27   base pay purportedly covered, which included the time they spent on rest breaks. That said,
                                       Sanchez is not necessary to hold that the Bland release encompasses Plaintiffs’ claims.
                                       18
                                  28      Due to the parties’ failure to address this issue in any detail in their briefs, the Court declines at
                                       this time to resolve whether Scheid’s individual wage statement claims are precluded by Bland.
                                                                                           31
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                                   1   section 203 of the Labor Code therefore fall within the scope of the release for members of the

                                   2   Bland class.

                                   3                   2. The Batta Settlement
                                   4            By its terms, the class release in Batta encompassed only claims for failure to reimburse or

                                   5   indemnify business expenses. Swidler Decl. (dkt. 161-2) Ex. 1-W (“Batta Settlement”) ¶ 38.

                                   6   PNC does not address Batta in its briefs. Plaintiffs are entitled to summary adjudication that Batta

                                   7   does not bar any claims in this case for MLOs who were absent members of that class action.19

                                   8                   3. Individual Settlements
                                   9            PNC moves for summary judgment as to the claims of Class members Ming Lo and Taylor

                                  10   Lancaster on the grounds that each executed a broad release as part of an individual settlement.

                                  11   See Groh Decl. Exs. 2, 3 (individual settlement agreements, filed under seal). The parties dispute

                                  12   whether Labor Code section 206.5 and related California authority limits the enforceability of
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                                  13   those releases. Whatever the merits of that dispute, it presents individualized issues not common

                                  14   to other members of the class, or to the only named plaintiff in this case, Linda Scheid. Class

                                  15   counsel does not represent Lo or Lancaster individually, and is not in a strong position to raise

                                  16   potential arguments against enforcing their individual releases.

                                  17            In granting class certification, the Court noted that any issues raised by individual

                                  18   settlements might be resolved by “modifying the class definition . . . at a later date.” 1st Class

                                  19   Cert. Order at 11; see also Armstrong v. Davis, 275 F.3d 849, 872 n.28 (9th Cir. 2001)

                                  20   (recognizing district courts’ “broad discretion to determine whether a class should be certified, and

                                  21   to revisit that certification throughout the legal proceedings before the court,” including the

                                  22   authority to “redefine the class”), abrogated on other grounds as recognized by B.K. ex rel.

                                  23   Tinsley v. Snyder, 922 F.3d 957, 974 (9th Cir. 2019). The Court therefore modifies the definition

                                  24   of the Class to exclude Lancaster and Lo, reserving any issues of the enforceability of their

                                  25   releases for individual litigation if either or both of them choose to pursue such arguments in a

                                  26
                                       19
                                  27      The release for the named plaintiff in that case, Nasrat Batta, was significantly broader. Batta
                                       Settlement ¶ 37. The parties’ briefs do not address whether Batta is a member of the Class here.
                                  28   If so, the Court would consider excluding Batta from the Class on a subsequent motion or
                                       stipulation, for the same reasons discussed below with respect to Ming Lo and Taylor Lancaster.
                                                                                         32
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                                   1   separate action.

                                   2          E.    Wage Statements and Maldonado
                                   3          Section 226(a) of the Labor Code requires employers to provide written wage statements

                                   4   either semimonthly or at the time of each payment including the following information:

                                   5                  (1) gross wages earned,
                                   6                  (2) total hours worked by the employee, [subject to exceptions for
                                                      exempt employees not applicable here],
                                   7
                                                      (3) the number of piece-rate units earned and any applicable piece rate
                                   8                  if the employee is paid on a piece-rate basis,
                                   9                  (4) all deductions, provided that all deductions made on written orders
                                                      of the employee may be aggregated and shown as one item,
                                  10
                                                      (5) net wages earned,
                                  11
                                                      (6) the inclusive dates of the period for which the employee is paid,
                                  12
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                                                      (7) the name of the employee and only the last four digits of his or her
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                                  13                  social security number or an employee identification number other
                                                      than a social security number,
                                  14
                                                      (8) the name and address of the legal entity that is the employer and
                                  15                  [additional information for farm labor contractors not applicable
                                                      here], and
                                  16
                                                      (9) all applicable hourly rates in effect during the pay period and the
                                  17                  corresponding number of hours worked at each hourly rate by the
                                                      employee and [certain requirements for temporary services employers
                                  18                  not applicable here].
                                  19   Cal. Lab. Code § 226(a) (line breaks added).

                                  20          “An employee suffering injury as a result of a knowing and intentional failure by an

                                  21   employer to comply with” those requirements may recover either actual or statutory damages. Id.

                                  22   § 226(e)(1). “[I]naccurate wage statements alone do not justify penalties; the plaintiffs must

                                  23   establish injury flowing from the inaccuracy.” Maldonado v. Epsilon Plastics, Inc., 22 Cal. App.

                                  24   5th 1308, 1334 (2018). Injury is presumed for certain omissions:

                                  25                  An employee is deemed to suffer injury for purposes of this
                                                      subdivision if the employer fails to provide accurate and complete
                                  26                  information as required by any one or more of items (1) to (9),
                                                      inclusive, of subdivision (a) and the employee cannot promptly and
                                  27                  easily determine from the wage statement alone one or more of the
                                                      following:
                                  28
                                                                                        33
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                                                      (i) The amount of the gross wages or net wages paid to the employee
                                   1                  during the pay period or any of the other information required to be
                                                      provided on the itemized wage statement pursuant to items (2) to (4),
                                   2                  inclusive, (6), and (9) of subdivision (a).
                                   3                  (ii) Which deductions the employer made from gross wages to
                                                      determine the net wages paid to the employee during the pay period.
                                   4                  ....
                                   5   Cal. Lab. Code § 226(e)(2).

                                   6          In Maldonado, an employer had used an invalid alternative workweek schedule to

                                   7   calculate overtime, resulting in failure to pay overtime premiums due for certain hours of work,

                                   8   and the trial court entered judgment in the plaintiff employees’ favor on a number of theories,

                                   9   including penalties for inaccurate wage statements under section 226. Maldonado, 22 Cal. App.

                                  10   5th at 1312. The plaintiffs argued that the wage statements failed to reflect the number of hours

                                  11   worked at each hourly rate, as required by item (9) in subsection (a) of that statute, which creates a

                                  12   presumption of injury under subsection (e)(2). Id. at 1335–36. The appellate court reversed,
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                                  13   holding that the wage statements accurately reflected the hourly rates at which employees were in

                                  14   fact paid. Id. at 1336–37. The failure to reflect overtime wages that employees should have been

                                  15   paid (but were not) instead implicated items (1) and (5) of subsection (a), requiring statements of

                                  16   gross and net wages “earned”—still a violation of the statute, but not included in the narrower list

                                  17   of violations that support a presumption of injury under subsection (e)(2). Id. PNC argues that

                                  18   Maldonado bars Plaintiffs’ wage statement claims here because its wage statements “accurately

                                  19   reflected the pay MLOs received from PNC.” Def.’s Mot. at 19.

                                  20          Plaintiffs argue that “permitting without consequence an employer to conceal the number

                                  21   of premium hours” undermines the purpose of section 226. Pls.’ Opp’n at 17. To the extent

                                  22   Plaintiffs ask this Court to simply disregard Maldonado, the Court declines to do so. The Court

                                  23   must follow Maldonado in the absence of compelling evidence that the California Supreme Court

                                  24   would decide the issue differently. See Owen, 713 F.2d at 1464. Plaintiffs do not claim to have

                                  25   met that standard here, and they have not.

                                  26          Plaintiffs’ theory of what information their wage statements omitted is not entirely clear

                                  27   from their opposition brief. See Pls.’ Opp’n at 16–18. Their complaint asserts that PNC’s wage

                                  28   statements “have been inaccurate, including because they have not accurately identified missed
                                                                                        34
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                                   1   rest periods and premium wages owed at applicable hourly rates.” 2d Am. Compl. ¶ 34. In their

                                   2   opposition brief, Plaintiffs note that “Maldonado made clear that a pay statement’s understatement

                                   3   of the number of hours worked triggers the statutory presumption of injury,” Pls.’ Opp’n at 16, but

                                   4   the allegations of Plaintiffs’ complaint do not assert an undercount of hours—at least in the most

                                   5   straightforward sense of failing to report accurately the number of hours that MLOs worked.

                                   6   Plaintiffs also argue that even with respect to earnings, Maldonado only denied a presumption of

                                   7   injury, with injury being a precondition for statutory damages—which would not affect the

                                   8   viability of a claim for injunctive relief or PAGA penalties.20 Id. As PNC correctly notes in its

                                   9   reply, however, PNC has not sought summary judgment with respect to Plaintiffs’ PAGA claim,

                                  10   and any injunctive relief would be moot in light of PNC having changed its compensation plan in

                                  11   2019.21 Def.’s Reply at 12.

                                  12            Finally, Plaintiffs argue that “beyond understating hours, this case also involves
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                                  13   affirmative misrepresentations of the wage rates” because payment subject to recapture is merely

                                  14   an advance, and “the pay statements that PNC issued described payments as wages and ascribe

                                  15   rates other than zero.” Pls.’ Opp’n at 17. The case on which Plaintiffs rely for that argument

                                  16   addressed whether a compensation plan based on commissions, but with a minimum amount paid

                                  17   per pay period and treated as an advance against future commissions, was a “salary” for the

                                  18   purpose of determining exemption from overtime requirements—an issue not implicated in this

                                  19   case. See generally Semprini v. Wedbush Secs., Inc., 57 Cal. App. 5th 246 (2020). In the absence

                                  20   of authority more clearly on point, the Court is not persuaded that section 226 required PNC to list

                                  21   a wage of zero merely because MLOs’ regular pay could have been deducted from future

                                  22
                                       20
                                  23      In a footnote, Plaintiffs also argue that Maldonado is not applicable to Scheid’s individual claim
                                       for wage statement penalties based on nonproductive time other than rest breaks. Pls.’ Opp’n at
                                  24   16 n.6. PNC does not address that issue specifically in its reply. The principle of Maldonado—
                                       that wage statements accurately reflecting hours worked and pay issued, but not pay “earned,” do
                                  25   not support a presumption of injury—would not seem to depend on whether the compensation at
                                       issue is for rest breaks or other nonproductive time. Even if Maldonado precludes a presumption
                                  26   of injury for Scheid’s individual claim, however, PNC has not moved for summary judgment on
                                       whether Scheid could show injury through other means, and the Court declines to reach this
                                  27   individual claim not meaningfully addressed by either party’s briefs.
                                       21
                                          Scheid, the only remaining named plaintiff in this case, concluded her employment with PNC
                                  28   before it modified the compensation plan in 2019. She therefore lacks standing to challenge the
                                       PNC’s post-2019 compensation plan to which she was never subject.
                                                                                         35
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                                   1   incentive pay. The Court’s conclusion above that PNC’s pay structure did not accord with rest

                                   2   break compensation requirements under Vaquero is not tantamount to holding MLOs’ regular

                                   3   pay—which they were entitled to keep and never required to repay to PNC upon termination of

                                   4   employment—entirely valueless.

                                   5          Neither party’s briefs meaningfully address the actual wage statements in the record, which

                                   6   do not list the correct number of hours (other than vacation and holiday hours) that Scheid worked,

                                   7   and instead appear to list in the “Hours” column the difference between a standard eighty-hour

                                   8   two-week pay period and the hours actually worked, without any explanation on the face of the

                                   9   wage statement. See Swidler Opp’n Decl. (dkt. 167-1) Ex. 1-A. At the hearing, defense counsel

                                  10   argued that because the wage statements included both an hourly rate of “16.000” and the total

                                  11   amount paid, see id., MLOs could readily determine their hours worked by dividing the total pay

                                  12   by the hourly rate. Given that the wage statements also list a value for “Hours” that is not the
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                                  13   number of hours actually worked—see id. (showing zero “Hours” of “Regular Pay” when Scheid

                                  14   did not take vacation, or a negative number when she did)—it is not obvious that MLOs could

                                  15   “promptly and easily determine” the number of hours worked from the wage statements alone.

                                  16   But Plaintiffs have not pursued that theory either in their complaint or in their briefs, and it

                                  17   therefore falls outside the scope of the claim asserted in this case.

                                  18          The claim that Plaintiffs have actually asserted—that PNC failed to compensate rest breaks

                                  19   in a manner consistent with California law—implicates questions of the rates of compensation

                                  20   MLOs “earned,” as opposed to what they were actually paid. Under Maldonado, any failure of

                                  21   wage statements to reflect premium pay that should have been paid, but was not paid, implicates

                                  22   only the requirements to show wages earned, which do not support a statutory presumption of

                                  23   injury. That lack of a presumption of injury does not necessarily render the claim nonviable, but it

                                  24   would require individualized showings of actual harm to each MLO, in a manner unsuitable for

                                  25   class resolution. The Court therefore modifies the class definition to exclude claims based on

                                  26   inadequate wage statements under section 203 of the Labor Code.

                                  27

                                  28
                                                                                         36
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                                   1            F.   Waiting Time Penalties and Naranjo

                                   2            PNC argues that the California appellate decision Naranjo v. Spectrum Security Services,

                                   3   Inc., 40 Cal. App. 5th 444 (2019), bars Plaintiffs’ claims for both wage statement penalties under

                                   4   section 226 of the Labor Code and waiting time penalties under section 203. Def.’s Mot. at 19–

                                   5   24.

                                   6            The requirements of section 226 are addressed above, in this order’s discussion of

                                   7   Maldonado. Section 203 provides in relevant part that “[i]f an employer willfully fails to pay . . .

                                   8   any wages of an employee who is discharged or who quits, the wages of the employee shall

                                   9   continue as a penalty from the due date thereof at the same rate until paid or until an action

                                  10   therefor is commenced; but the wages shall not continue for more than 30 days.” Cal. Lab. Code

                                  11   § 203.

                                  12            Naranjo primarily concerned an employer’s failure to pay premiums for on-duty meal
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                                  13   periods—a separate requirement of section 226.7 not at issue in this case.22 That case held “that

                                  14   section 226.7 actions do not entitle employees to pursue the derivative penalties in sections 203

                                  15   and 226,” because the California labor code defines “‘wages’ . . . only in terms of ‘labor

                                  16   performed by employees,’” and the premiums required by sections 203 and 226 derive from an

                                  17   employer’s conduct, not an employee’s labor. 40 Cal. App. 5th at 473–74 (quoting Cal. Lab.

                                  18   Code § 200(a)). The Naranjo court acknowledged tension between two California Supreme Court

                                  19   decisions: Murphy v. Kenneth Cole Productions, Inc., 40 Cal. 4th 1094 (2007), which held that

                                  20   premiums owed under section 226.7 for missed meal or rest periods were “wages” rather than

                                  21   “penalties” for the purpose of a statute of limitations, and Kirby v. Immoos Fire Protection, Inc.,

                                  22   53 Cal. 4th 1244 (2012), which held that claims under section 226.7 were not “‘action[s] brought

                                  23   for the nonpayment of wages’” for the purpose of an attorneys’ fees statute because the wrong

                                  24   addressed by section 226.7 is a noncompliant rest or meal break, which is remedied but not

                                  25

                                  26   22
                                         Naranjo also held that the trial court erred in declining to certify class treatment for rest break
                                  27   claims. 40 Cal. App. 5th at 476–82. It did not specifically address the interplay between rest
                                       break payments or premiums and sections 203 and 226, but there is no reason to believe its
                                  28   analysis of premiums under section 226.7 would differ depending on whether those premiums
                                       were owed for rest breaks or meal breaks.
                                                                                         37
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                                   1   absolved by paying the one-hour premium wage required by that statute, 53 Cal. 4th at 1259

                                   2   (quoting Cal. Lab. Code § 218.5(a) (alteration in original)). The California Supreme Court has

                                   3   granted review of Naranjo, but has not yet decided the case. 455 P.3d 704 (2020).

                                   4          One earlier California appellate decision reached the same conclusion as Naranjo with

                                   5   respect to claims under section 203 based on premiums owed under section 226.7, but only as an

                                   6   alternative to its primary holding that an arbitration award denying recovery under section 203 was

                                   7   not subject to review. Ling v. P.F. Chang’s China Bistro, Inc., 245 Cal. App. 4th 1242, 1259–61

                                   8   (2016). Decisions from this district have construed Ling’s holding regarding the interplay

                                   9   between sections 226.7 and 203 as dicta, and declined to follow it. Karl v. Zimmer Biomet

                                  10   Holdings, Inc., No. C 18-04176 WHA, 2018 WL 5809428, at *10–11 (N.D. Cal. Nov. 6, 2018); In

                                  11   re: Autozone, Inc., No. 3:10-md-02159-CRB, 2016 WL 4208200, at *7 (N.D. Cal. Aug. 10, 2016).

                                  12          While this Court is generally required to follow decisions of California appellate courts
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                                  13   interpreting state law, neither Naranjo nor Ling have precedential value as to this question.

                                  14   Naranjo, although not depublished, is no longer precedent as a result of the pending review by the

                                  15   California Supreme Court. Cal. R. Ct. 8.1115(e)(1); Bates v. Leprino Foods Co., No. 2:20-CV-

                                  16   00700 AWI BAM, 2020 WL 6392562, at *5 (E.D. Cal. Nov. 2, 2020) (declining to follow

                                  17   Naranjo on that basis). As stated in Karl and Autozone, Ling address the issue only in dicta.

                                  18          There are compelling reasons to believe the California Supreme Court will reverse

                                  19   Naranjo, because its holding that premiums under section 226.7 are not “wages” directly conflicts

                                  20   with the California Supreme Court’s decision in Murphy. See e.g., Murphy, 40 Cal. 4th at 1099

                                  21   (“We conclude that the remedy provided in Labor Code section 226.7 constitutes a wage or

                                  22   premium pay . . . .”); id. at 1111 (“‘Functional’ Analysis Does Not Undermine Conclusion That

                                  23   Payment Constitutes a Wage”); id. at 1120 (“We hold that section 226.7’s plain language, the

                                  24   administrative and legislative history, and the compensatory purpose of the remedy compel the

                                  25   conclusion that the ‘additional hour of pay’ is a premium wage, not a penalty.”). With the

                                  26   California Supreme Court having squarely addressed whether premiums under section 226.7 are

                                  27   “wages,” neither this Court nor the Naranjo court is free to start from first principles (like section

                                  28   200 of the Labor Code) to reconsider that issue.
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                                   1            Kirby addresses a separate issue: whether “section 226.7 claims . . . constitute ‘action[s]

                                   2   brought for the nonpayment of wages.’” Kirby, 53 Cal. 4th at 1259 (alteration in original;

                                   3   emphasis added). The nature of the claim is not relevant here. Section 226 implicates “wages”

                                   4   earned, Cal. Lab. Code § 226(a), and section 203 turns on “wages” unpaid, id. § 203(a). Unlike

                                   5   the attorneys’ fees statute addressed in Kirby, neither statute at issue here turns on the nature of a

                                   6   plaintiff’s action. While Naranjo and Ling reached a contrary conclusion, noting section 203(b)’s

                                   7   reference to an “an action for the wages from which the penalties arise,” their reasoning is not

                                   8   persuasive. See Naranjo, 40 Cal. App. 5th at 469; Ling, 245 Cal. App. 4th at 1261. Contrary to

                                   9   those cases’ conclusions, subsection (b) does not render a waiting time claim “purely derivative

                                  10   of” an action for wages—it merely sets a statute of limitations that coincides with that for an

                                  11   action for wages:

                                  12                   Suit may be filed for these penalties at any time before the expiration
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                                                       of the statute of limitations on an action for the wages from which the
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                                  13                   penalties arise.
                                  14   Cal. Lab. Code § 203(b). Naranjo and Ling’s reliance on that provision to entirely bar section 203

                                  15   claims based on certain types of “wages” places more weight on a subsection plainly intended

                                  16   only to concern the timing of an action than it reasonably can bear.

                                  17            Under Murphy, premiums owed under section 226.7 are wages. This Court therefore

                                  18   concludes that the California Supreme Court will reverse Naranjo’s holding to the contrary, and

                                  19   declines to grant PNC summary judgment on any claims based on that decision.23

                                  20   IV.      CONCLUSION
                                  21            For the reasons discussed above, the Court grants summary adjudication of the following

                                  22   issues: (1) PNC’s compensation plan failed to pay MLOs for rest breaks in accordance with

                                  23   California law during the Class period; (2) Bland bars claims for premiums under section 226.7

                                  24   for inadequate rest breaks prior to January 5, 2017, and related claims for waiting time penalties,

                                  25

                                  26   23
                                         The Court declines to take judicial notice of the amicus briefs in Naranjo that Plaintiffs
                                  27   submitted, and has not considered those briefs in reaching a decision here. PNC is correct that
                                       incorporating by reference legal arguments submitted by other parties in other cases would evade
                                  28   the page limits applicable to Plaintiffs’ briefs and place PNC at a disadvantage to respond in its
                                       reply.
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                                   1   for all members of the class in that case, as well as Scheid’s individual claims for failure to

                                   2   compensate other nonproductive time before that date; (3) Batta does not bar any claims in this

                                   3   action;24 and (4) Plaintiffs are not entitled to a presumption of injury for any failure of wage

                                   4   statements to include premiums or other pay that should have been provided but was not. The

                                   5   motions for partial summary judgment are otherwise DENIED.

                                   6            The Class is hereby modified to exclude Ming Lo and Taylor Lancaster based on the non-

                                   7   common issues raised by their individual settlement agreements, and to exclude all wage statement

                                   8   claims based on the individualized issues implicated by the lack of a statutory presumption of

                                   9   injury. Going forward, the Class is therefore defined as all individuals who were employed by

                                  10   PNC as mortgage loan officers from June 28, 2014 through June 29, 2019 except Ming Lo and

                                  11   Taylor Lancaster, and is certified only to pursue claims based on PNC’s alleged failure to pay for

                                  12   rest breaks during that time, as well as claims derivative of such a theory, except for claims based
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                                  13   on inaccurate wage statements.

                                  14            The parties shall meet and confer to determine a suitable method of notifying the Class of

                                  15   this revised definition, and shall file a joint statement proposing such a method no later than

                                  16   March 29, 2021.

                                  17            IT IS SO ORDERED.

                                  18   Dated: March 15, 2020

                                  19                                                    ______________________________________
                                                                                        JOSEPH C. SPERO
                                  20                                                    Chief Magistrate Judge
                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27
                                       24
                                  28     With the possible exception of claims covered by Nasrat Batta’s individual release, an issue this
                                       order does not address.
                                                                                      40
